Case 2:17-cv-06001-SJF-AYS                 Document 1          Filed 10/13/17         Page 1 of 57 PageID #: 1




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                               x
 AFP MANAGEMENT CORP. cl/b/a HILTON                             :   Case No.
 ALBANY,

                                     Petitioner,                :   NOTICE OF REMOVAL

          -against-

 THE NEW YORK HOTEL & MOTEL TRADES
 COUNCIL, AFL-CIO,

                                     Respondent.
                                                               x
          Respondent, THE NEW YORK HOTEL AND MOTEL TRADES COUNCIL, AFL-CIO

 (the “Union”), by its attorneys Pitta LLP, respectfiuly seek the removal of this civil action and

 show as follows:

                                                   I. PARTIES

          1.      The Union is a labor organization within the meaning of the federal labor law,

 representing over 30,000 employees in interstate commerce in the New York City region’s

 hospitality industry. The Union maintains its principal office at 709 Eighth Avenue, New York,

NY 10036.

          2.      The Union and the Petitioner are parties a collective bargaining agreement (“CBA”)

 for the period from May 1, 2013 through April 30, 2017 (attached as Exhibit A to Hotel’s Petition

 annexed hereto as Exhibit 1) which covers the terms and conditions of employment for Hotel

 employees, including banquet captains, servers and bartenders (“Banquet Employees”).

         3.       Article 4 of the CBA contains the broadest arbitration clause possible, by providing:

          A. Grievances arising~between the parties hereto involving questions or interpretation or
             application of any clause of this Agreement, or any acts, conduct or relations between
             the parties, directly or indirectly, which shall not have been adiusted by and between
             the parties involved shall be referred to a permanent umpire(s) to be known as the


 {00640788DOCX / 2 }
Case 2:17-cv-06001-SJF-AYS                   Document 1           Filed 10/13/17           Page 2 of 57 PageID #: 2




                Impartial Chairman, and his/her decision shall be final and binding upon the parties
                hereto. In addition, any questions regarding arbitrability, substantive, procedural, or
                otherwise, or regarding the Impartial Chairperson’s jurisdiction or authority, shall be
                submitted to the Impartial Chairperson for final and binding resolution, whose decision
                shall be final and binding on the parties hereto and the parties waive any right to
                challenge such determination by the Impartial Chairperson regarding arbitrability,
                jurisdiction or authority in any other forum.

           B.   The parties shall, where appropriate, attempt to amicably resolve grievances prior to
                submitting them to arbitration. Absent good cause, the party raising the grievance shall
                noti& the other part of the grievance within sixty (60) days of learning of the
                grievance. Where appropriate, the, the parties may agree to submit to mediation before
                the Hotel Association of New York City, Inc. Labor Manager prior to arbitration,,,.

           D. The parties consent that any papers, notices or process, including subpoenas, necessary
              or appropriate to initiate or continue an arbitration hereunder or to enforce or to enforce
              or confirm an award, may be served, may be served by ordinary mail directed to the
              last known address ofthe parties or their attorneys, or when authorized by the Impartial
              Chairperson, by telegram, fax, e-mail or telephone... [emphasis added].


                        II. THE ARBITRATION AND STATE COURT PETITION

         4.        In or about August, 2017, the Banquet Employees complained to the Union that the

 Hotel had not been paying them the proper gratuity for the banquet functions they worked and that

 they had observed copies of Banquet Event Orders (BEOs) in which the Hotel informed the guests

 that banquet functions were subject to an additional service charge on all food and beverage,

 functional space rental and audio/visual charges. The Banquet Employees complained that the

 Hotel had paid them the contractual 15% gratuity only on the service charge assessed on food and

 beverage but not on the service charge assessed on functional space rental or audio/visual charges,

 in violation of the CBA. Appendix A of the CBA expressly provides that:

         Banquet captains, servers and bartenders will receive equal distribution among such
         employees serving any given banquet, a total of 15.00% of the service charge for such
         banquet.
         5.        As a result of the Banquet Employees’ complaints, Union Assistant General Counsel

 Gideon Martin (“Martin”), by letter dated August 24,2017, informed Hotel counsel that the Union




 (00640788.DOCX / 2 )
                                                             2
Case 2:17-cv-06001-SJF-AYS               Document 1        Filed 10/13/17     Page 3 of 57 PageID #: 3




 was investigating grievances regarding banquet events and the payment of service fees and

 gratuities by the Hotel and requested information relevant to the grievances.

         6.          The Hotel refused to provide the information requested by Martin, notwithstanding

 its contractual obligation to do so under the CBA.

         7.      The Union commenced an arbitration by filing and serving a demand for arbitration

 (“Demand”) with the Office of the Impartial Chairperson (“OIC”) as provided in the CBA on

 September 14, 2017 (Petition, Para. 7). The demand for arbitration alleged that management had

 failed “to pay Banquet Service gratuity on room rental, AIV, and similar charges through April 30,

 2017, in violation of the collective bargaining agreement and the law.” (emphasis added). Thus,

 the demand for arbitration was expressly limited to violations of the CBA in the time period prior

 to the expiration of the CBA.

          8.     Hotel Counsel John Harras requested to stay the arbitration on the grounds that the

 grievance was not arbitrable via email to the OIC on September 18, 2017.

          9.         Impartial Chairman Elliot Shriflman denied the Hotel’s request for a stay via email

 on September 19, 2017.

          10.    On September 29, 2017, the OIC scheduled the arbitration hearing for November 6,

 2016.

         11.     Upon information and belief’, Petitioner commenced this proceeding in New York

State Supreme Court, Nassau County, by filing the Petition on October 4, 2017. Petitioner did not

notify the Union that it had filed the Petition. Hotel Counsel emailed a copy of the Petition to the

undersigned attorneys for the Union on October 12, 2017.

         12.     Thirty days have not yet elapsed since service of the Summons and Complaint and

removal is, therefore, timely under 28 U.S.C. § 1446(b).

 {00640788.DOCX /2   }
                                                      3
Case 2:17-cv-06001-SJF-AYS              Document 1        Filed 10/13/17       Page 4 of 57 PageID #: 4




          13.    Pursuant to 28 U.S.C. § 1446(a), the documents attached as Exhibit “A” constitute

 all process, pleadings and orders received by the undersigned attorneys.

          14.    Venue is proper in this District pursuant to 28 u.s.c. § 1446(a) because the Supreme

 Court of the State of New York, Nassau County, where this action was filed is a state court within

 the Eastern District of New York.

                                     III. BASIS FOR REMOVAL

          15.    Under 28 U.S.C. § 1441(a), “any civil action brought in a state court of which the

 district courts of the United States have original jurisdiction, may be removed by the defendant or

 defendants, to the district court of the United States for the district and division embracing the

 place where such action is pending.”

          16.    This Court’s subject matter jurisdiction, and the basis for removal of this action, is

 founded upon 28 u.s.c. § 1331.

          17.    28 U.S.C. § 1331 states, in relevant part, that “[tjhe district courts shall have original

 jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United States.”

         18.     28 U.S.C. § 1441(b) states, in relevant part, that “[amy civil action of which the

 district courts have original jurisdiction founded on a claim or right arising under the Constitution,

 treaties or laws of the United States shall be removable without regard to the citizenship or

 residence of the parties.”

         19.     Therefore, under 28 U.S.C. § 1441, actions involving state law claims which also

 arise or are founded on alleged violations of federal law, such as 29 U.S.C. § 185, may be removed

 to federal court.

         20.     LMRA Section 301, 29 U.S.C. § 185, provides for suits “for violation of contracts

 between an employer and a labor organization representing employees in an industry affecting

 {00640788.DOCXI2 }
                                                     4
Case 2:17-cv-06001-SJF-AYS                     Document 1        Filed 10/13/17    Page 5 of 57 PageID #: 5



 commerce       .   .   .“   in a district court of the United States where the union “maintains its principal

 office” or is “engaged in representing or acting for employee members.” Section 301 creates a

 federal right of action to determine whether a party is bound to a contract with a union and to the

 obligation to arbitrate disputes.

          21.           Petitioner’s claims arise under Section 301 of the LMRA, 29 U.S.C. § 185, as

 petitioner seeks to enjoin an arbitration covered by the CBA’s grievance and arbitration provision

 on the ground that the grievance is not arbitrable, an issue which is covered by the CBA’s broad

 arbitration provision.

          22.           Accordingly, this Court has original jurisdiction pursuant to 28 U.S.C. § 1331, and

 it has removal jurisdiction pursuant to 28 U.S.C. § 1441(b).

          WHEREFORE, removal of the Petition to this Court is proper pursuant to 28 U.S.C. § 1331

 and 1441(b).

 Dated: New York, New York
        October 13, 2017
                                                        Respectfully submitted,

                                                        PITTA LLP
                                                        Attorneys for Respondent
                                                        New York Hotel And Motel Trades Council, AFL-CIO


                                                        By:                       Is!
                                                                          Joseph Farelli
                                                               120 Broadway, 28th Floor
                                                               New York, NY 10271
                                                               Telephone: 212.652.3890
                                                               Facsimile: 212.652.3891
                                                               (Jfarelli(~pittalaw.corn)

 TO:     MILLMAN LABUDA LAW GROUP PLLC
         3000 Marcus Avenue, Ste. 3W8
         Lake Success, New York 11042
         Telephone: (516) 328-8899
         Attorneys for Petitioner
 {00640788.DOCX /2 }
                                                           5
Case 2:17-cv-06001-SJF-AYS   Document 1   Filed 10/13/17   Page 6 of 57 PageID #: 6




                              EXHIBIT I
     Case 2:17-cv-06001-SJF-AYS                Document 1            Filed 10/13/17     Page 7 of 57 PageID #: 7

IFILED: NASSAU COUNTY CLERK 10/04/2017 03:26 PNI                                                 INDEX NO.. 610548/2017
NYSCEF DCC.. NO. 1                                                                        ‘RECEIVED NYSCEF:’ 10/0572017




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NASSAU: SPECIAL TE~M


          In the Matter of the Application of

          AFP MANAGEMENT CORP. a/b/a HILTON ALBANY,                                   Index No.:   (~ iOf1~’ ,/.zil 7
                                          PeUtioser;
                                                                                    PETITION
          For a Judgment Staying the Arbitration Commenced by

          THE NEW YORK HOTEL. & MOTEL TRADES
          COUNCIL, AFL-CIO,

                                          Respondents.
                  —                 ——--            x. ——---—


          TO THE SUPREME COURT OF TIlE STATE OF NEW YORK
          COUNTY OF NASSAU

                  The Petition of APP MANAGEMENT CORP. d/bla HILTON ALBANY (the. ‘~Hilton

          Albany” or the “Hotel”), by its counsel, John M. Harras, Esq., respectfully shows this Court as

          follows:

                   I.     I am counsel to AFP Management Corp. d/b/a Hilton Albany, a corporate entity

           residing in Nassau County, and am fully and personally familiar with all facts and circumstances

           set forth herein except for those’ items stated to be alleged upon information and belief. .As to

           those items, I believe them to be true.

                  2.      Petitioner seeks a stay of arbitration pursuant to C.P.’L.R. § 7503(b) on the

           grounds that (1) there is no agreement to arbitrate the instant dispute between the Petitioner and

           the Respondent; and (2) if the agreement to arbitrate applies (which it does not), then Respondent

           has failed to comply with the agreement to arbitrate.

                  3.      Petitioner is a hotel that hosts banquets, conferences, and travelers.

                  4,      Respondent, the New York Hotel & Motel Trades Council, AFL-CIO (the “Union” or

           “HTC”), is the union for the non-managerial employees at the 1-lotel.




                                                          1   of 3
     Case 2:17-cv-06001-SJF-AYS              Document 1             Filed 10/13/17    Page 8 of 57 PageID #: 8


IFILED: NASSAU COUNTY CLERK 10104/2017 03:26 PM                                               ~ 610548/2017
flSCEF DOC. NO. 1                                                                       RECEIVED NYSCEF: 1O/.OS/2~17




                 5.      The collective bargaining agreement C’CBA”) between Petitioner and

          Respondent,, which r~guIates the interaction between Hotel management and Hotel emp1oyees~

          expired on April 30, 2017. (See Exhibit “A”>.

                 6.      The CBA cOntained an agreement to arbitrate grievances “arising between

          [Petitioner and Respondent] involving. questions or interpretation or appicaflon of any clause of

          this Agreement.” (Exhibit A, Aitidle 4.A)

                 7.      The arbitration at issue here,, HTC v. Hilton Albany, Case No.: HTC #U17-483 (the

          “Arbitratiop”% was served and filed on September 14,2017, almost three (3) months after th,e expiration

          of the CBA. (See Exhibit “B”).
                 ‘8.     Thus, the, Arbitration was filed and served, when there was no agreement te arbitrgte in

          existence between Petitioner and Respondent. Accordingly, this arbitration should be stayed pursuant to

          CPLR. 7503(b).

                 9.      In the event that the Court determines that the arbitration agreement survives the

          expiration of the CBA (which. it should not), this arbitration should be stayed nonetheless.

                 10.     Article 4 of the CBA requires the arbitration to deal with a “clause in this Agreement”

          and requir~s the partiçs to “attempt to amicably resolve grievances prior to submitting them to

          arbitration.” ~ Exhibit A, Article 4.A, 4.11).

                  II.      Respondent has failed to comply with both requirements of the CBA’s arbitration

          provision. There is no clause in the CBA that would entitle banquet servers to have compensation based

          on A/V, room, and/or similar charges (whatever that may entail).           Under Appendix A of the CBA,

          banquet servers are entitled to their wages and “a total of 15% of the service charge for such banquet.”

          Thus, banquet servers receive fifteen-percent (15%) of the banquet cost, which consists of food and

          beverage, sales. This method of compensation has been the practice of the Hotel for the entire duration



                                                            2



                                                        2   of 3.
     Case 2:17-cv-06001-SJF-AYS               Document 1           Filed 10/13/17         Page 9 of 57 PageID #: 9


WILED: NASSAU COUNTY CLERK 10/04/2017 03:26 PMI                                                  INDEX NO. :610548/2017
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 10/05/2017




          of Petitioner’s ownership of the Hotel and, upon information and belief, has been the.I-lotel’s practice for

          decades,

                   12.   Respondent also never made any attempt to resolve the grievance amicably. To this date,

          Respondent has not identified a single banquet where its members were paid improperly or a single

          provision that justifies banquet servet pay being based on A/V equipment, roqm tentals, or “similar

          charges,” even though Petitioner has. indicated that ~uch fauts gnd circumstances are necessary for a,

          resolution. Without those facts,.Respondent’s arbitration filing consists only of a bare legal conclusion

          from which no meaningful settlement discussion may be had---clearly a flouting of the letter and the

          spirit of the OBAYs, arbitration ptovisions..

                   13.    Accordingly, this Arbitration should bc.staycd pui~ant to CPLR 7503(b~.

          Dated:         Lake Success, N~w York
                         October 4,2017
                                                                   Yours, etc.

                                                                fs/ John M. Harras

                                                                   John M. Harras, Esq.
                                                                   MILMAN LABUDA LAW GROUP PLLC
                                                                3000 Marcus Avenue, Ste. 3W8
                                                                Lake Success, New York 11042
                                                                (t) (516) 328-8899
                                                                 (f) (516) 328-0082
                                                                john@rnllaborlaw.com




                                                            3



                                                          3 of 3
Case 2:17-cv-06001-SJF-AYS          Document 1 Filed 10/13/17     Page 10 of 57 PageID #:
                                             10




  SUPR~MECOURT OF THE STATE OF NEW YORK
  COUNTY QF NASSAU: SPECIAL TERM


  In the. Matter of the Application of

  APP MANAGEMENT CORP. a/b/a HILTON ALBANY,                     Index No..: 610548/2017

                               Petitioner,

  For a Judgment Staying the Arbitration Commenced by:

  THE NEW YORK HOTEL & MOTEL TRADES
  COUNCIL, AFL-CIO;

                               Respondent.




                          MEMOtiLNDUM OF LAW
     IN SUPPORT OF PETITIONER’S PETITION FOR A STAY OF ARBITRATION,
         INJUNCTIVE RELIEF, AND A TEMPORARY RESTRAINING ORDER




                                              MILMAN LABUDA LAW GROUP PLLC
                                             Attorneysfor Petitioner
                                              3000 Marcus Ave., Ste. 3W8
                                              Lake Success, New York 11042
                                             (516) 328-8899


  On the Brief
  Robert F. Milman
  John M. Harras
Case 2:17-cv-06001-SJF-AYS         Document 1 Filed 10/13/17            Page 11 of 57 PageID #:
                                            11




                                 TABLE OF CONTENTS

  PRELIMINARY STATEMENT                                                                    ..   1
  FACTS                                                                                         2
  ARGUMENT                                                                                      3
    POINTI                  ..                •        •                                        3
    PETITIONER’S MOTION FOR A TEMPORARYRESTRAINING ORDER SHOULD
    BEGRANTED                                        ..~        3
    POINT B               ~                                                                  4
    PETITIONER’S MOTION FOR A PRELIMINARY INJUNCTION SHOULD BE
    GRANTED                                         .—                                       4
     A. THE STANDARD FOR A PRELIMINARY INJUNCTION                                            4.
     B. PETITIONER I~ LIKELY TO SUCCEED ON THE MERITS           .                            5
           (i~ No Agreement faArbkrate Exists                                                6
           (ii) Eve’s If an Arbitration Agreement Exists (which, it does noO, Respondent Has
     Not complied with its Terms                                                              7
      C.   PETITIONER WILL SUFFER IRREPARABLE HARM ABSENT A PRELIMINARY
      INJUNCTION                                                                              9
      D.   THE BALANCE OF THE EQUITIES ARE IN PETITIONER’S FAVOR                              9
  CONCLUSION                                                                                1.0
Case 2:17-cv-06001-SJF-AYS           Document 1 Filed 10/13/17                Page 12 of 57 PageID #:
                                              12




                                TABLE OF AUTHORITIES

  Cases
  Arient Services, LLC v. Gentile, 2008 N.Y. Misc. LEXIS 9864 at *7 CSup. ct. New York

    December 8, 2008)....                                     .~.,..4,,.,.q              ...   3,4, 8

  Bisca v. Bisca, 108 Misc~ 2d227, 231 (NY Sup. Ct. Nassau 1981)                                          3

  Chrysler Corn. v. Fedders Corp., 63 A.D.2d 567, 569 (1st Dept 197:8)                         ..,.....   5

  Cty. of Rockland v. rimiano Constr. Cc~, 51 N.Y,2d 1,6-7 (1980)                                  68

  Hilton-Davis Chemical Company Div of Sterling Drug Inc and Loeal 342 International
  Chemical Workers Union, 185 N.L.R.B. 241,242-243 (1970)                                           8, 9

  Int’l Trust Co. of Bermuder Ltd. v Farnstock & Co. Inc., 1995 U.S. Dist. LEXIS 15050, 1995

    WL 606275 at *3 (S.D.N.Y. 1995)                                                                 3,8

  Litton Fin. Printing Div. v. N.L.R.B.. 501 U.S. 190,200 (1991)                                          6

  McLaughlin, Piven. Vogel. Inc., 114 A.D.2d 165,. 172 (2d Dep’t 1986)                                    5

  Moezan v. Moezan, 135 A.D.2d 692, 692 (2d Dep’t 1987)                                                   5

  Mt. Ararat Cemetery v Cemetery Workers and Greens Attendants Union. Local 365, 975 F.

    Supp. 445, 447 (E.D.N.Y. 1997)                                                                  4, 8

  Waldronv. Goddess, 61 N.Y.2d 181, 183-84 (1984)                                                         6



  Statutes

  C.P.L.R. § 7503(b)                                                                                      1
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                Page 13 of 57 PageID #:
                                                13




                                    PRELIMINARY STATEMENT

          Petitioner Ts entitled tç a stay of arbitration because Respondent is forcing Petitioner to

  arbitrate a dispute. when no agreement to. arbitrate the dispute exists. Peiitioner and Respondent

  were parties:to a.collective bargaining agreement C’cBA”~ that containe4 an arbitration provision.

  That agreement expired ion Apr11 30, 2017. Respondent served Petitioner with a Demand for

  Arbitration on September 14, 2017.. At thattime, there was ho CBA and no agreement to arbitrate.

  Petitioner no. longer ponsented to arbjtratiqn generally or to arbitrate in the Offiôe of the Impartial

  Chairperson, the venue selected by Respondent in its. September 14,2017 Demand. Consequently,

  Petitioner cannot he forced to submit to arbitration generally, and i.t certainly cannot be forced to

  arbitrated before the Office of Impaitial Chairperson.

          Even if the Court finds that the arbitration agreement contained in the expired CBA should

  apply (which it should not), then arbitration should be stayed nonetheless because Respondent has

  failed to comply with the requirements of that arbitration provision. For example, Respondent did

  not make a good faith effort to resolve this case before filing for arbitration and did not noti&

  Petitioner the CBA provision that justifies Respondent’s claim, both of which are prerequisites for

  filing arbitration tinder the expired CBA.

          Accordingly, the arbitration at issue should be stayed pursuant to C.P.L.R. § 7503(b).




                                                     t
Case 2:17-cv-06001-SJF-AYS                   Document 1 Filed 10/13/17                      Page 14 of 57 PageID #:
                                                      14




                                                         FAas’

           Petitioner pwohased the Hilton Albany (the “Hotel”) in 2015. The Hilton Albany isa union

  hotel and has been for the past thirty (30) years. Respondent is the union that represents all 150

  of Petitioner’s union employees.

           When Petitioner purchased the Hotel, it voluntarily assumed and agreed to the collective

  bargaIning agreement ~“CBA”) that was negotiated between the predecessor owner, TP.G Contract

  Services, LLC, and Respondent (See Harras AlE, Exhibit. “A”                     —   the CBA). The CBA for the

  Hotel expitêd on April 30, 2017. The parties are in negotiations.foranew CBA. There has been

  no memorandum of agreeipent, or any document of tlw sort, agreed to by the parties that would

  extend the current CBA beyond its expiration date of April30, 2017.

           Since negotiations for a new CBA began, Respondent. has filed five (5) grievances, the

  arbitration at issue here, and has established a picket line outside the Hotel composed of union

  employees, not Hotel employees. The union has also contacted customers of the Hotel and

  politicians to persuade them to boycott the Hilton Albany.

           On September 14, 2017, the Hotel received a demand for arbitration along with the

  statutory notice saying that Petitioner had twenty (20) days to apply for a stay. (See Harras Aff.,

  Exhibit~ “B”), The Demand for Arbitration says the requested arbitration is in regard to

  “Management’s failure to pay Ban.quet Service gratuity on room rentals, A/V. and similar charges

  through April 30, 2017, in violation of the collective bargaining agreement and law.” (j4).

           Petitioner filed a stay within the statutory twenty (20) day time period, on October 4, 2017,

  by filing a Petition for Stay of Arbitration pursuant to C.P.L.R. §~7503(b) with theNew York State


   These facts are taken from the Affidavit of John M. Harras, Esq., in Support of Petitioner’s Order to Show Cause.
  Thus, see that Affidavit and the Exhibits attached thereto for supporting documentation for factual allegations herein.

                                                             2
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                 Page 15 of 57 PageID #:
                                                15




  Supreme Court, Nassau County, Special Term via electronic filing. (See Dkt. No. 1). Petitioner

  received an Index number; 610548/2017, for its stay application on October 6, 201 7~. (See 1-larras

  Aff., Exhibit “C”), Petitioner also received a Notice of Hearing from the Office of the Impartial

  Chairperson,. settihg November 6, 2017 as the hearing date. (See Harras Aff., Exhibit “D”).

         The. Arbitration Agreement, however, contained in Article 4 of’a CBA, expired on April

  30, 2015’.. Because the CBA expired five (5) months. befott. the serving of the Demand for

  Arbitration, there is no agreement in existence Under which Petitioner has consented to submit

  disputes with Respondent to arbitration, let alone to the Office of the Impartial Chairperson.

  Accordingly,, the Union cannot bind the Hotel to arbitration. Therefore, a stay of th,e arbitration.

  for November 6, .2017 must .be stayed.


                                               ARGUMENT


                                                POINT I
    PETITIONER’S MOTION FOR A TEMPORARY RESTRAINING ORDER SHOULD
                              BE GRANTED

         “A temporary restraining order may be granted pending a hearing for a preliminary

  injunction where it appears that immediate and irreparable injury, loss or damage will result unless

  the defendant is restrained before the hearing is held,” C~P.L.P. 6301. “Irreparable injury” is

  defined as “that which cannot be repaired, restored or adequately compensated in money, or where

  the compensation cannot be safely measured.” Bisca v. ‘Bisca, 108 Misc. 2d 227, 231 (NY Sup.

  Ct. Nassau 1981) (citing DeFuniak, HANDBOOK OP MODERN EQUITY, 2d ed., 32).

         It is well-established that if a party has not agreed to arbitrate a dispute, then that party will

  suffer irreparable harm if it is forced to submit to arbitration. Arient Services, LLC v. Gentile,

  2008 N.Y. Misc. LEXIS 9864 at *7 (Sup. Ct. New York December 8, 2008) (citing Intl Trust Co.

                                                     3
Case 2:17-cv-06001-SJF-AYS              Document 1 Filed 10/13/17                 Page 16 of 57 PageID #:
                                                 16




  of l3ermuder Ltd~ vFarnstock & Co. Inc,.1995 U.S. Dist. LEXIS 15050, 1995 WL 606275 at *3

  (S D N Y 1995)), Mt Ararat Cemetery v Cemetery Workers and Greens Attendants Union Local

  365, 975 F. Supp.. 445, 447 (E.D.N.Y. 1997) (a party “may be presumed to suffer irreparable harm

  if forced to arbitrate a dispute it dId notintend to be subject to arbitration,”)).

          In this ease, absent a temporary restraining order CtTRQ”) st4ying the November 6, 2017

  arbitration, Petitioner will, suffer irreparable harm,      If there is no stay ordered immediately,.

  Petitioner would be forced, against its will, to fbrego its rightto a civil thaI under the United ~tates

  Constitution and the New York Constitution. (U.S. C0NST. amend VII, XIV; N.Y.. C0NST. aft, I,

  § 2~. Petitioner would also be compelled to litigate in a venue in which Petitioner does not consent
  to 1itigate~ Thus, Without a stay, Petitioner will be sttipped of its constitutional rights and forced to.

  litigate in an unfavorable venue to which Petitioner does not consent to submit its disputes..

  Therefore, the stay must be implemented immediately, otherwise Petitioner will suffer irreparable

  harm.    See Id.

          Accordingly, Petitioner is entitled to a TRO. $~ Arient Services. LLC 2008 N.Y. Misc.

  LEXIS 9864 at * 1, 8 (granting a TRO staying an arbitration where there was an issue over whether

  the allegedly applicable arbitration agreement was valid).

                                                 POINT II
       PETITIONER’S MOTION FOR A PRELIMINARY INJUNCTION SHOULD BE
                                GRANTED

  A. Tnt STANDARD FOR A PRELIMINARY INJUNCTION

          “A preliminary injunction may be granted in any action where it appears that the defendant

  threatens or is about to do, or is doing or procuring or suffering to be done, an act in violation of

  the plaintiffs rights respecting the subject of~ ~the action, and tending to render the judgment


                                                      4
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                Page 17 of 57 PageID #:
                                                17




  ineffectual, or in any action where~the plaintiff has demanded and’would be entitled to ajüdginqnt

  restraining the defendant from the commission or continuance of an act, which, if committed or

  continued during the pendency of the action, would produce ‘injury to the plaintiff.” CPLR § 6301.

  A court will grant a preliminary injunction when the movant demonstrates: (1) a likelihood of

  success on the merits; (2). irreparable injury if the. preliminary injunction is not granted; and ~3) a

  balancing of the equities in ‘its favor. $~.MeLaugh1in. Piven, Vogel. Inc., 114 A.D.2d 165, 172.

  (2d Dep’t 1986). Courts define “irreparable injury” as “a continuing harm resulting in substantial

  prejudice caused. by the acts sought to be restrained ‘if permitted to continue.” Chrysler Corp. v.

  Fedders Corp., 63 A.th2d 67, 569 (.1st Dep’t .1978). Further, a court should grant injunctive relief

  which reflects a balancing of the equities so as “to effect substantial jUstice and to preserve the

  status quo.” Yd.~ at 569; ~ ~ Moczan v. Moczan, 135 A.D.2d 692, 692 (2d Dep’t 1987). As

  shown below, based on these. legal criteria, the Court should grant Plaintiff’s motion for a

  preliminary injunction.

  B. PETITIONER 15 LIKELY TO SUCCEED ON THE MERITS

          On motions to stay arbitration there are three (3) threshold questions to be resolved by the

  courts: (1) whether the parties have a valid agreement to arbitration;. (2) whether such an

  agreement, if it exists, has been complied with;, and (3) whether the claim sought to be barred by

  limitation of time had it been asserted in a court of New York. C,P.L,R. § 7503(b); Cty. of

  Rockland v. Primiano Constr. Co., 51 N.Y.2d 1, 6-7 (1980). “The parties are entitled first to a

  judicial determination whether there was a valid agreement to arbitrate, If the court determines

  that the patties had not made an agreement to arbitrate, that concludes the matter and a stay of

  arbitration will be granted.” Ctv. of Rockland v. Primiano Constr, Co., 51 N.’Y.2d at 7.




                                                     5
Case 2:17-cv-06001-SJF-AYS              Document 1 Filed 10/13/17                Page 18 of 57 PageID #:
                                                 18




          Q)     No Agteernent to Arbitrate Exists
          For there to be a valid agreement to arbitrate in place, it is “well-settled” that there must be

  evidence that “affirmatively establishes that the parties expressly agreed to arbitrate their disputes.”

  Waldron v. Goddess, 61 N.Y.2d 181, 183-84 (1984) (‘citations ozn.itted) (emphasis added). “The

  agreement must be” clear~. explicit and unequivocal and must not ‘depend upon implication or

  subtlety.” j4. The requirement for clarty of intent to arbitrate is higher. than that required for

  intent to:contract’j4. at 1.85.

          In the event that an arbitration agreement existed, but has since çxpired, then the. arbitration

  agreemEent is invalid,, ‘and dpes not automatically’ renew, unless there’ is “a. clearly expressed

  intention to renew the arbitration agreement contaii~d In the otherwise expited [àgreenientj.” 14.

  Moreover, the conduct of the parties after ‘the expiration of the agreement cannot be considered

  when determining whether a valid agreement to arbitrate exists because the “threshold for clarity

  of agreement to arbitrate is greater than with respect to other ‘contractual terms.” j4.

          In this case, the expired CBA contains no survival or renewal clause for arbitration or

  anything else therein. There, is nothing clearly expressed in the CBA that would extend the

  obligation to arbitrate beyond the April 30, 2017, the date of the CBA’s expiration. Absent that

  express, written survival or renewal provision in the CBA, there is no agreement to arbitrate under

  the above-cited, binding Court of Appeals precedent.          $~ 14.    (granting petitioner’s stay of

  arbitration where an arbitration agreement had expired).

          Moreover, the National Labor Relations Board has held that, while, arguably, certain

  provisions of a CBA extend through post-CBA expiration bargaining, an arbitration provision is

  not one of those provisions. Litton Fin. Printing Div. v. N.L.R.B., 501 U.S. 190, 200 (1991)

  (“Since Hilton-Davis, the [National Labor Relations Board (“NLRB”)] has adhered to the view


                                                     6
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                Page 19 of 57 PageID #:
                                                19




  that an arbitration clause does not, by operation of the [National Labor Relations Act

  (“NLRA”)j., continue in effect after expiration of a collective bargaining agreement.
                 .                                                                                    .   We.

  reaffirm [this. rulè~ today.”); Hilton-Davis Chemical Company. Div. of Sterling Dnig. Inc. and

  Local 342. International Chemical Workers Union, t85 N.L.R.B. 241, 242-243 (1970) (holding

  that,. when engagêd\in post-CBA-expiration negotiations,. th~ law docs not “requirc[] the parties to

  submit to .aztitration any grievance which they are unable to resolve.          .   .   [this view] is not.

  inconsistent with our recognition of the consensual nature of the arbitral process.”).

         ThusR according to the United States Supreme. Court and the National Labor Relations

  Board, arbitration provisions of a CRA generally do not surviVe the. expiration of that CiBA.

  Accordingly, since the Hilton Albany’sCBA is.expired, the Hotel no longer consents to arbitratioi~,.

  and there is nothing in the CBA that expressly extends the obligation to arbitrate beyond April .30,

  2017, there is no valid arbitration agreement in existence that obligates the. Petitioner to arbitrate

  Respondent’s grievances before the Office of the Impartial Chairperson.             Therefore, this Court

  should order a stay of the Arbitration, currently scheduled for November 6, 2017.

          (ii)       Even ii cm Arbitration Agreement Exists (which it does not), Respondent Has
                     Not Complied With Its Terms.

          In the event that the Court determines that the arbitration agreement survives the expiration of the

  CBA (which it should not), this arbitration should be stayed nonetheless. Under C.P.L,R. § 7503, an

  arbitration may he stayed if the conditions precedent to the obligation to arbitrate are not satisfied. $~

  Cty. of Rockland v. Primiano Constr. Co., 51 N.Y.2d 1,7(1980).

          In this case, there are at least two (2) conditions precedent to the CBA’s obligation to arbitrate: (1)

  that the arbitration must deal with a “clause in this Agreement;” (2) that the parties “attempt to amicably

  resolve grievances prior to submitting them to arbitration; and (3) that the Respondent submit the
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17               Page 20 of 57 PageID #:
                                                20




  grievance within sixty (60) days of learhing of the grievance.” (S~ Harras Aft’., Exhibit A, Article 4.A,

  4.B).

          Respondent has failed to comply with of the CEA’s conditions precedent to the arbitration. The

  Demand for Arbitration does not identi~’ any applicable, clause ‘of the CBA that serves as the basis of the

  ‘arbitration. in fact, there is no clause in the .CBA that would entitle banquet servers to have compensation

  based On AN, room, and/or similar charges (whatever that may entail).

          Respondent also never made any attempt to resolve the grievance amicably. They have not

  contacted any representative of Petitioner to disduss. this service charge issue before filing arbitration. To

  this date, Respondent has not identified to Petitioner a. single banquet where its members were p~d

  improperly or a single provision that justifies banquet server pay being based on AN equipment, room

  rentals~ or “similar charges,” even though Petitioner has indicated that such facts and circumstances are

  necessary for a resolution, Without those facts, Respondent’s arbifration filing consists only of a bare

  legal conclusion from which no meaningful settlement discussion may be had.—-clearly a flouting of the

  letter and the spirit of the CBA’s arbitration provisions.

          Finally, the CBA requires that grievances be filed with sixty (60) days of their discovery. The

  Hotel has been paying its servers based on food and beverage sales for years. The union is aware of this

  and has never filed a grievance about this issue since Petitioner purchased the Hotel. Accordingly,

  Respondent has not fulfilled the sixty (60) day filing condition precedent contained in the CBA.

          Accordingly, this Arbitration should be stayed pursuant to CPLR 7503(b).

          Overall, therefore, Petitioner has demonstrated a likelihood of success on the merits.




                                                     S
Case 2:17-cv-06001-SJF-AYS                   Document 1 Filed 10/13/17                       Page 21 of 57 PageID #:
                                                      21




  C.       PETITIONER WILL SUFFER IRREPARABLE HARM ABSENT A PRELIMINARY rNJUNCTI0N

           For the same reasons as articulated in Point lof the Argument section ofthis Memorandum

  of Law, “Petitioner’s Motion for a TRO Should Be Granted,” Petitioner will suffer irreparable

  hanii if a preliminary injunction is not granted.

           Specifically, if a party has not agreed: to. arbitrate a dispute, then that party will suffer

  irreparable harm ifit i~ forced to submit to arbitration. Ariënt Services. LLC v. Gentile, 2008 N.Y.

  Misc, LEXIS 9864 at *7 (Sup. ct. New York Dçcçmber 8,2008) (citing rnt’l Trust Co. ofBermuder

  Ltd. v Farnstoclc & Co. Inc.,l995 U.S. Dist. LEXIS 15050, 1995 WL 606215 at *3 (S.D.N.Y.

  1995)); Mt. Ararat Cemetery ~ Cemetery Workera and Greens Attendants Union, Lo~a1 365, 97.5

  F. Supp. 445, 447 (E.D.N.Y.~ 1997) (a party “may be presumed to suffer irreparable harmif forced

  to arbitrate a dispute it did not intend to be subject to arbitration.”)).

          Mere, if Petitioner is forced to arbitrate when it does not consent to do so, then Petitioner’s

  constitutional right to ajudicial adjudication by ajury will be violated and will be forced to litigate

  in a venue to which it did not consent, See (U.S. CONST. amend VII, XIV; N.Y. CONST. art. I, §

  2). Therefore, Petitioner would suffer irreparable harm without a preliminary injunction.

  B.       THE BALANCE OF THE EQUITIES ARE IN PETITIONER’S FAVOR

           Respondent is forcing Petitioner to forego its constitutional rights, as described above.

  Moreover, Respondent is using this arbitration as a vehicle to further its bargaining power in CBA

  negotiations, not for any legitimate grievance. The goal of this Arbitratoin is (1) to put pressure

  on Petitioner to accede to Respondents demands in CBA negotiations;2 and (2) improperly utilize




  2 At the time of writing, Respondent, since post-CI3A negotiations started, have filed live (5) grievances in addition

  to this arbitration, setup a picket line outside of the hotel consisting of Union employees, not union employee, and
  has orchcstrated a boycott of the Hotel by defaming the Hotel to Hotel customers and politicians.

                                                             9
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                Page 22 of 57 PageID #:
                                                22




  an arbitrator to redefine and modif~’ tehns of the CBA—a task suited for bargaining between the

  parties, not arbitration. $~ Hilton-Davis, 185 N,L,R.B. 241,242-243 (1970).

         in contrast to Respondent’s nefarious agenda, the Petitioner merely wants to safeguard its

  rights and avoid non-consensual arbitrntiorj.

         Based on the foregoing, the balance of the equities weighs hi favor of the. Petitioner.

         Thus~ overall, Petitioner satisfies all requirements for the issuance of a preliminary

  injunction.

                                              CoNcLusioN

         For the~ foregoing reasons, Petitioner respectfully requests that the Court grant its, motion

  for a temporary restraining order, injunctive relief, and a stay of arbitration~

  Dated: Lake Success, New York
         October 12,2017
                                                  Respectfully submitted,

                                                  MILMAN LABU’DA                        PLLC


                                                               M. Harras,
                                                         Robert F. Milman, Esq.
                                                         Attorney,s for Plaintiff
                                                         3000 Marcus Ave., Ste. 3W8
                                                         Lake Success, New York
                                                         (516) 328-8899




                                                    10
Case 2:17-cv-06001-SJF-AYS                Document 1 Filed 10/13/17             Page 23 of 57 PageID #:
                                                   23




                                                                 At a Term, Part           —,of the
                                                                 Supreme Court of the State of New
                                                                 York, held in and for the County of
                                                                 Nassau, at  _____ on the       day
                                                                                              _____


                                                                 of _______,2017

  Present: Hon.   _______________________,         J.S.C.

  SUPREME: COURT OF: THE STATE OF NEW YORK
  COUNTY OF NASSAU:. SPECIAL TERI~1
             —




  AFP MANAGEMENT CORP. db/a HILTON ALBANY,                                   Index Ne.: 610548/2017

                                    Petitioner
                                                                             ORDER TO SHOW CAUSE
  -agáihst

  TUE NEW YORKEOTEL & MOTEL TRADES
  COUNCIL, AFL-CIO,
                                    Respondent.
                         —--—                 —                     x

         Upon the annexed petition of John M. Harras, the annexed affidavit of John M. Harras,

  sworn to on the twelfth (1 20~) day of October 2017, and the attached Memorandum of Law,

         Let the Rcspondent, the New York Hotel & Motel Trades Council, AFL-CIO, show cause

  at a Term, Part   ______,   of this court to be held at the courthouse thereof, located at 100 Supreme

  Court Drive, Mineola, New York 11501, on the        ___________   day of             ,   201_ at   ______




  o’clock in the _______noon of that day, or as soon thereafter as counsel can be heard, why a

  judgment should not be entered for the relief demanded in the petition, and why the petitioner,

  APP Management Corp. d/b/a Hilton Albany, should not have such other and further relief as

  might be just, proper, and equitable.

         Sufficient reasons appearing therefor, let personal service of a copy of this order together

  with the petition and supporting documents upon which it was granted, upon the respondent on
Case 2:17-cv-06001-SJF-AYS               Document 1 Filed 10/13/17             Page 24 of 57 PageID #:
                                                  24




  or before the   _____   day of   ____________,   20__, at   ______   o’clock in the ________noon of

  that day bee deemed sufficient service, and in the meantime it is

           ORDERED that pending the hearing and adjudication of this application, Petitioner is
  granted a temporary restraining order

                  (1) enjoining Respondent from pursuing any arbitrations agpinst Petitioner based

                     on the collective bargaining agreement between Petitioner and Respondent

                     that expired on April 30,2017; and

                  (2) staying the arbitration filed by Respondent against Petitioner, currently

                     scheduled for a heating on November 6, 2017, lab.ele4 as HTc #1317-483,

                     involving Banquet Server compensation.

  Dated:



                                                          SO ORDERED




                                                                 J.s..c.




                                                      2
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17              Page 25 of 57 PageID #:
                                                25




  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY 01? NASSAU SPECIAL TERM
                     —      —------             —------         x

  APP MANAGEMENT CORP. dlb/a HILTON ALBANY,                             Index No.: 610548/2017

                                  Petitioner,
                                                                        AFFIDAVIT IN SUPPORT
                                                                        OF ORDER TO SHOW CAUSE
  -against

  THE NEW YORK HOTEL & MOTEL TRAUES
  COUNCIL, AFL-CIO,

                                  Respondent.
                                          —                     x
  STATE OP NEW YORK)
                         ) 55.:
  COUNTY OF NASSAU)

         John M. I-Iarras, Esq., being duly sworn, deposes and says:

         1.      I am the attorney for the petition in the above entitled proceeding and am familiar

  with all the facts and circumstances heretofore had herein.

         2.      The above entitled proceeding is being brought for the purpose of obtaining a stay

  of arbitration filed by Respondent when no agreement to arbitrate exists.

         3.      Petitioner purchased the Hilton Albany (the “Hotel”) in 2015. The Hilton Albany

  is a union hotel and has been for the past thirty (30) years. Respondent is the union that

  represents all 150 of Petitioner’s union employees.

         4.      When Petitioner purchased the Hotel, it voluntarily assumed and agreed to the

  collective bargaining agreement (“CBA”) that was negotiated between the predecessor owner,

  TPG Contract Services, LLC, and Respondent. (See Exhibit “A”      —   the CBA).

         5.      The CBA for the Hotel expired on April 30, 2017. The parties are in negotiations

  for a new CBA.
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17               Page 26 of 57 PageID #:
                                                26




           6.     There has been no memorandum of agrecment or any document of the sort agreed

  to by the paflics that woul.d extend the current CBA beyond its. expiration date ofApril 30, 2017.

           7.     Since negotiations for a new CBA bega>n, Respondent has filed five (5)

  grievances, the arbitration at issue here, and has established a picket line outsi4e the Hotel

  composed of union employees, not Hotel employees. The union has, also contacted customers of

  the Hotel and politicians to. persua4e them to boycott the Hiltoii Albany.

           8.     On September 14, 2017, the Hotel received a demand for arbitration along with

  the statutory notice saying that’ Petitioner had twenty (20) ‘days to apply ‘for a stay. (See Exhibit,



           9,.    The Demand for .4rbitration. says the requested arbitration is ‘in’ regard to

  “Management’s failure to pay Banquet Service gratuity on room rentals, AN, and similar

  charges through April 30, 2017, in violation of ‘the ‘collective bargaining agreement and law.”

  (14.).
           10.    Petitioner filed a stay within the statutory twenty (20) day time period, on October

  4, 2017, by filing a Petition for Stay of Arbitration pursuant to C.P.L.R. §~7503(b) with the New

  York State Supreme Court, Nassau County, Special Term via electronic filing. (See Dkt. No. 1).

           11.    Petitioner received an index number, 610548/2017, for its stay application on

  October 6,2017. (See Exhibit “C”).

           12.    Petitioner also received a Notice of’ Hearing from the Office of the Impartial

  Chairperson, setting November 6,2017 as the hearing date. (See Exhibit “.D”).

            13.   The Arbitration Agreement, however, contained in Article 4 of the CBA, expired

  on April 30, 2017. (See Exhibit “A”).




                                                     2
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17               Page 27 of 57 PageID #:
                                                27




          14.    As such, there. is currently no. agreement in edstence under which Petitioner has

  consented to arbitration with Respondent to arbitration, let alone at the Office of the Impartial

  Chairperson.

          15.     Thus, an order to show cause and temporary re~traihing order is used here

  because a decision on the stay is needed before the current hearing date of November 6, 20.1.7.

  Na order to show cause is the only option. available to Petitioner to obtain injunctive relief before.

  that hearing date. Petitioner should not be required. to submit to an arbitration that may be

  adjudicated as invalid.

          16.    No previous applidation for the relief herein prayed forhas been made.

          17.    Pursuant to. CPLR 2217, 1 certify that there are no frivolous contentions contained

  in any of Plaintiff’s papers submitted.

          18.     Prior to the filing of this application, in accordance with Uniform Rule 202.7(f), 1

  made a good faith effort to notif~’ the parties against whom the temporary restraining, order is

  sought of this application by sending Respondent a letter via e-mail to Rich Maroko, General

  Counsel for Respondent, Amy Bokerman, Assistant General Counsel for Respondent, and

  Gideon Martin, Assistant General Counsel for Respondent, and Joseph Farelli, Outside Counsel

  for the Respondent, rmaroko~nylnc.org, abokerman~nyhtc.org, gmartin~nyhtc.org, and

  jfarelli@pittalaw.com, respectively. The letter was also sent to Respondent via facsimile at (212)

  977-4450 and (212) 977-5714. This letter notIfied Respondent of the time, date, and place for

  when and where this application would be made, with sufficient time to permit the Respondents

  an opportunity to appear in response to the application.

  Dated: October 12, 2017
         Lake Succcss, New York




                                                     3
Case 2:17-cv-06001-SJF-AYS   Document 1 Filed 10/13/17          Page 28 of 57 PageID #:
                                      28




                                        AGREEMENT


                                          BETWEEN


                                   ALBANY HOTEL. NC.


                                            AND.

                                 ALBANY HOTEL TRS, LLC

                                         •AND~~

                              TPG CONTRACT SERVICES, LLC




               THE NEW YORK HOTEL AND MOTEL-TRADES COUNCIL, AFL-CIO


                             Effective May 1,2013 -April 30, 2017
Case 2:17-cv-06001-SJF-AYS          Document 1 Filed 10/13/17                 Page 29 of 57 PageID #:
                                             29




                AGREEMENT made this 7:11 day c•fJuy 2013. by and between the New York Hotel and
         Motel Trades Council. AFL-CIO (“Union”) and Albany Hotel, Inc. and Albany Hotel TRS. LLC,
         Owner of the Hilton Albany, and TPG Contract Services: J~LC. its managing agent (collectively.
         “Employer” or “Hotel” or “Company”).


         ARTICLE I -RECOGNTrIOrc

                The Company recognizes th Union as the exclusive bargaining representative for all
                regular full-time and regular part-time employees including House Person. Room
                Attendant. Laurd:y, Inspector. Bell Person. Bus Person, First Cock, Second Cook,
                Kitchen Utilky, Maintenance employees. Bartenders, Hostess/Host. Bancuet Servers,
                Banquet Bartenders, Prep Cook, Room Service Attendant. Room Service Cashier.
                Concierge, Commercial Cleaner, Barback, Door Person, Banquet Captain, Guest Service
                Agent, Nigh: Auditors, but excluding all other employees, office clerical employees,
                cashiers, guards and supervisors as defined in the Act.

            B. As of June 25, 2010, a regular full-time employee is art employee who has completed the
               90-day probationary period and is normally scheduled to work more than thirty-two (32)
               hours per week. For all employees hired on or before June 24, 2010, the deflnition of a
               regular full-time employee is an employee normally scheduled to work more than twenty-
               eight (28) hours per week.

            C. The Union recognizes the sensitive service nature of the hotel. The Union agrees to
               support and encourage Lbs highest level of ernpioyee perforrr once, safety sta~dards, good
               health, proflciency and sustained effort.


        ARTICLE 2r RIGHTS OF MANAGEMENT

        All matters related to the operation, control and management of the business, including the right
        to direct the employees, shall be at the sole discretion of’ the Employer, except as otherwise
        provided for in this Agreement and the law. The Employer has the right to establish reasonable
        rules and regulations consistent with this Agreement and the law. The Union reserves the right
        to challenge the reasonableness and/or lawfiflness of’ such rules.


        ARTICLE 3—DUES. REINSTATEMENT & INITIATION FEES

           A. The Employer will deduct from their wages and turn over to the duly designated officer
              of the Union the membership dues, initiation fees, and reinstatement fees cf such
              members of the Union as individually and voluntarily certified in writing on and after the
              date of this Agreement that they authorized such deductions. Such written authorizations
              shall be irrevocable for a period of’ one (1) year or until the termination or renewal cf this
              Agreement, whichever occurs sooner, and such written authorizations shall be
              automatically renewed and shah be irrevocable for successive periods of one (I) year
              each, or for the period of such succeeding Collective Bargaining Agreements between the


                                                                                                          2
Case 2:17-cv-06001-SJF-AYS         Document 1 Filed 10/13/17                Page 30 of 57 PageID #:
                                            30




                Employer and the Union, whichever shall be shorter, uness written notice of revocation
                is given to the Employer and a copy sent to the Union no more .than fifteen (15) days
                before the expiration of each period of one (1) year, or each succeeding Collective
                Barsaining Agreement between Employer and Union, whichever occurs sooner.

             B. The Employer, after receipt of written authorization from each employee, who has
                 completed 90 days of employment, shall deduct the initiation fees and -dues From each
                 Union member’s pay check due to him or her on the first pay of’ each month and shall
                 transmit them in alphabetical order no later than the 15th day of’ the month to the
                 Secretary-Treasurer orthe Union. Any member who does not receive a pay check on the
                 first pay day of:he mo~:h cr who has other de&ctions from said nay check which have
                 priorftv by law (i.e., income tax u-àhheid) and coes not hate sufficient cay rtmaining
                 have the initiation fees an&br dues checked off, in full or in part, shall have his or her
                dues and/or initiation fees, or any portion thereof not previously deducted, deducted from
                the pay check of the next pay day or succeeding pay days of the month until deducted in
                fufl. Said amount so deducted will be transmitted to the Union by the 30th day of the
                month. If sufficient dues and/or initiation fees are not deducted for the current month, a
                double deduction made in the same manner as previously described will be made the
                following month or months in order to bring the member up to date. Dues not already
               deducted for the current month must be deducted from the last paycheck of a Union
               member when he or she leaves the employ of the Employer for any reason. The Employer
               agrees to notify the Union weekly when the employees are discharged, granted leaves of
               absence, absence due 1to illness or injury, or leave the employ of the Employer for any
               reason whatsoever.

            C. The Employer shall furnish the Lnioi: with a quarteriy- list of all emp!oyees in the
               bargaining unit, including each employee’s name. social security number, department
               locat~on, job title, home address, phone number, status (fuil.cime or part-time). date of
               hire, date of birth and ethnicity, This report shall be in the excel format.

           D. The provisions of this Section are intended solely as an accommodation to the Union. it is
              exüressy agreed and clearly understood by the parties that no agency, bailment or any
              other relationship is created, intended or shah be implied between the Company and the
              Union or between the Company and any employee or group of employees. Further, the
              Union specifically agrees to hold the Company harmless from any and all losses.
              damages, or injury of every nature whatever, including but not limited to the expenditure
              of alL attorney’s fees and all cou~ costs incurred by the Company by reason of the
              provision of this Section.


        ARTICLE 4- GRIEVANCE AND ARBITRATION PROCEDURE

              A. Grievances arising between the parties hereto involving questions or interpretation or
                 application of any clause of this Agreement, or any acts, conduct or relations between
                 the parties, directly or indirectly, which shall not have been adjusted by and between
                 the parties involved shall be referred to a permanent umpire(s) to be known as the
                 Impartial Chairperson or Arbitrator, and his/her decision shall be final and binding


                                                                                                        3
Case 2:17-cv-06001-SJF-AYS         Document 1 Filed 10/13/17                Page 31 of 57 PageID #:
                                            31




                  upon the parties hereto. In addition, any questions regarding arbitrability, substantive.
                  procedural, or otherwise, or regarding the Impartial Chairperson’s jurisdiction or
                  authority shall be submitted exclusively to the Impartial Chairperson for final and
                  binding resolution, whose decision shall be final and binding on the parties hereto and
                  the parties waive any right to challenge such determination by the Impartial
                  chairperson regarding arbitrability, jurisdiction or authority in any other forum.

              B. The parties shall, where appropriate, attempt to.amicably resolve grievances prior to
                 submitting them to arbitration. Absent good cause, the party raising the grievance
                 shall notify the other party of the grievance within sixty (60) days of learning of the
                 grievance. Where appropriate, the parties may agree to submit w mediation before
                 the Hotel Association of New York City, Inc. Labor Manager prior 10 arbitration.

              C. In the event of a willful default by either party in appearing before the lmparti&
                 Chairperson, after due written notice shall have been given to the said party, the
                 Impartial Chairoerson is hereby authorized to render a decision upon the testimony of
                 the party appearing.

              0. The parties consent that any papers, notices or process, including subpoenas,
                 necessary or appropriate to initiate or cQntinue an 8sbitration hereunder or to enforce
                 or confirm an award, may be served by ordinary maildirected to the last known
                 address of the parties or their attorneys, or when authorized by the Impartial
                 Chairperson. by telegram, fax, e-mail or telephone.

             E. The parties consent that all arbitration hearings shall be heard at the Hotel, the office
                of the Impartial Chairperson. or at such other place as the arbftrator or parties may
                designate.

             F. The Arbitrator sjiall have the authority to issue an~’ remedy s/he deems necessary to
                filly and effecti~eN remedy any complaint, grieVance or violation, ensure
                compliance with this Agreement, and prevent future violations, including, but not
                limited to equitable and monetary relief, provided that s/he shall be limited to
                awarding back pay to an affected emplbyee to the period commencing three (3) years
                from the date the grievance or complaint was first raised with the Employer by the
                Union or an employee, unless a longer period is provided for by applicable law.

             0. Precedent under the Industry \\‘ide Agreement between the Hotel Association of New
                York Ci~, Inc. and the New York Hotel and Motel Trades Council, AFL-CIO shall
                not be binding in arty proceeding under this Agreement.

             H. The Impartial Chairperson may call such arbitration hearing on giving five (5) days’
                notice to all of the interested parties. The Impartial Chairperson, however, may call a
                hearing on shorter notice if s/he deems it appropriate.

             I. The compensation of the Impartial Chairperson and his/her proper and necessary
                expenses shall be shared and paid equally by the Employer and the Union.



                                                                                                            4
Case 2:17-cv-06001-SJF-AYS              Document 1 Filed 10/13/17                 Page 32 of 57 PageID #:
                                                 32




               .1. The Impartial Qiairperson shall be the panel established in the Jndustry Wide
                   Aereement between the Union and Hotel Association of New York Ci~’, Inc.

               K. The decision rendered by the Impartial Chairperson shall have the effect of a
                  judgment entered upon an award made, entitling the entry of ajudgment in a court of
                  competent jurisdiction against the defaukin2 par~ who fails to earn’ out or abide by
                  such decision.

              L. Right to InFormation.

                         i.     Right to information. The Employer acknowledges that the Union has a right
                                to information relevant to its relationship ‘with the Employer and its role as
                                representative of the employeçs. The Union shall be entitled to any
                                information relevant or necessary to enforcing this Agreement; investigating
                               or prosecuting possible:violations. grievances and complaints; and fuifliling
                               its role as bargaining representative. The Union shall further be entitled to any
                               infonnation relevant to representing workers in disputes ~vith the Employer
                               and fulfill its obligations as exclusive bargaining representative, Nothing in
                               this Article shall limit or reduce the Union’s xight to information pursuant to
                               the National Labor Relations Act.

                    ii.        Prompt Pro~,ision of Information. The Employer shall fromptly and
                              completely respond to all requests for information by the Union. if.the
                              Employer objects to any request or part thereoZ it shall so state hi *riting with
                              a detailed description of the nature of the objectiàn (e.g., privilege available
                              under law). Raising an objection with regard to one or more portions of a
                              request shall not relfeve the Employer of complying with the remainder
                              thereof.                    -




                  iii.        The Employer shall electonically. transmit to the Union any information to
                              which the Union is entitled in a rnutualiy agreed upon electronically
                              searchable anc irnporzabJe rorni and Format, except where such Enrornauon
                              cannot be ~ut into electronic format.

                 iv.          The Employer shall provide all relevant, non-privileged, non-objectionable
                              and available information requested by the Union prior to a grievance meeting.
                              If the Employer fails to do so, such information shall nor be introduced at
                              arbitration or in any other forum dealing with the case.

             M. Discioline and Discharae

                   i.         No discipline or discharge shall be made without just cause.

                  ii.         Discussions regarding job performance shall be conducted respectfully and
                              never in the presence of hotel guests.



                                                                                                              D
Case 2:17-cv-06001-SJF-AYS           Document 1 Filed 10/13/17               Page 33 of 57 PageID #:
                                              33




                     iii.    Mi written discipline will be issued within thirty (30) calendar days of the
                             date on which the Employer knew or should have reasonably known of the
                             alleged violation. However, by mutual agreement, eithei~ party may extend the
                            time within which discipline ~vi1l be issued. Written warnings must include the
                            date and events for which the warning is issued. Failure to issue written notice
                            to an employee of an alleged infraction as required herein will cause the
                            warning to be null and void. Employees shall be notified at the time of
                            receiving discipline of their right to respond in writing and shall have such
                            response attached to the discipline in the employee’s personnel file.

                     i~.    Employees shall be notified of their right to have a Union representative
                            present during any discipline. Should a Union steward be unavailable, the
                            meeting shall be rescheduled to allow participation by a Union steward.

               N. Underpayment

                      i.    In any circumstance of willful underpayment of an employee, the Employer
                            shalL be subject to a fifteen percent (15%) penalty payable to the employee in
                            addition to any monies owed if it does not cortect the underpayment within
                            four (4) days or the underpayment being brought to the attention of the Hotel.

                    ii.     It is understood that underpayments caused by an error by the affected
                            employee, such as failure to punch in, may be corrected promptly, but need
                            not be corrected within the aforementioned four (4) days.

        ARTICLES- UNION SECURITY

           A. The Employer shah, when feasible, noti.~ the Union of all job openings within the
              bargaining unit covered by this Agreement. In general, job openings will be posted for
              three (3) calendar days on the Union bulletin board. The Union may refer qualified
              applicants for such openings, but the Employer shall not be obligated to hire the
              candidates referred by the Union. The Employer retains sole disc?etion on. sourcing
              candidates and may hire ftorn any and all sources. The Employer shall be the sole judge
              of the qualifications of its employees, but will not discriminate against apolicants referred
              by the Union.

          B. Only members in good standing in the Union shalL be retained in employment. For the
             purpose of this section “member in good standing’ shall be defined to mean employee
             members in the Union who tender the dues and initiation fees uniformly required as a
             condition of acquiring or attaining membership in such Union. Non-members of’ the
             Union hired by the Employer must complete membership affltiation on or before the 90th
             day of employment, and the Union agrees to accept such non-member into membership
             on the same terms and conditions generally applicable to other members.

          C. Upon written notice from the Union of failure on the part of any individual employee to


                                                                                                         6
Case 2:17-cv-06001-SJF-AYS          Document 1 Filed 10/13/17                Page 34 of 57 PageID #:
                                             34




                complete or maintain membership in the Union. as above required, the Employer shall
                within seven (7) days of such notice, discharge such employee, provided that the Union
                has complied with the legal requirements.

                In lieu of discharge. the Employer may agree to deduct from the wages of said employee
                the Union’s initiation fee or reinstatement fee and dues. Said Agreement shall be upon a-
                term approved by the Union.

            0. The provisioi:s of Articie 5 are intended solely as an accommodation to the Union.
               Further, the Union specifically agrees to hold the Company harmless from any and all
               losses, damages. or injury of every nature whatever, including but not limited to the
               expenditure of attorneys’ fees and aH court costs incurred by the Company by reason of
               this Article.

         ARTICLE 6- NO STRIKE & NO LOCKOUT

           A. Both the Union and the Employer recognize the service nature of the hotel business and
              the duty of the Employer to render continued and hospitable service to the public by
              supplying the food, lodging and other hotel aoconmiodations, Therefore, neither the
              Union nor any of the employees will call, engage in, participate in or sanction any strike,
              sympathy strike, slow-down, stoppage of work, picketing or boycott during the life of this
              Agreement. The Employer will not lockout its employees during the life of this
              Agreement.

           B. Any employee directly or indirectly authorizing, engaging in, encouraging, sanctior.ing,
              recognizing, or assisting in a breach to ArticLe 6, or who reuses to perform 5cr/ices
              assigned to him or ncr, sha~i be subiect to disciphne.

           C. The Tho strike or nd lockouts” provision hereof shall-not apply in the event either party
              fails to abide by an award or decision of the Arbitrator within ten (IC) days after issuance.

        ARTICLE 7-SENIORITY

           A. Management will assign each emøloyee a Primary Job Ciassification and only the
              Primary Job Classification shall be used to determine and accrue seniority. Seniority shall
              be determined by Primary Job Classification within the departments. Seniority shall
              prevail with regard to scheduling hours, days offl vacation, and holidays.

          B. When the Employer determines that a laycff will be necessary, the Employer will first
             layoff or reduce the hours of all probationan’ employees in the particular job
             classiflcation affected. The Employer will then review employee seniority within the
             affected job classification. If the Employer determines all factors (e.g., employment
             status, skill, experience., productivity, performance history, etc.) are equal, the last
             employee hired in a particular clas5iflcation shall be the flrst employee laid off. In
             recalling employees to work, the last employee laid off shall be the first one recalled. The


                                                                                                         7
Case 2:17-cv-06001-SJF-AYS              Document 1 Filed 10/13/17                Page 35 of 57 PageID #:
                                                 35




                   Employer, in determining who shall be recalled may, in any case where the facts warrant
                   it. also take into consideration the ability to perform the work safely, properly, and
                   efficiently.

               C. An employee affected by Section B above who has accrued seniority within another
                  classification shall have the right to bump the least senior person in such classification
                  provided that their seniority within such classification exceeds that of the Least senior
                  person.

               D. An employee shaLl not acquire seniority during his or her first nine~ (90) working days.
                  Ar the end of that time, the seniority shall date from the beginning of employment.
                  Dtzririg the nrobationary period, the employee may be laid off, transferred, terminated
                  without recourse to the grievance and arbitration provisions of this Agreement.

               E. The most senior employee within a classiflcation shall have preference for shift selection;
                  however, such preference shall prevail only in the event of an opening on the preferred
                  shift. There shall be no bumping for shift selection unless there is an openir.g within the
                  affected classification. Employees exercising their seniority rights for shift selection shall
                  not be eligible to exercise such rights again for a period of ninety (90) days.

           F. Employees on layoff status shall retain their recall rightsfor a period of three (3) months
              from the date of laycifi At the end of the three-month period, they shall be removed from
              the Company’s payroll..

           0. Employees within a classification changing their status from fizil-time to pan-time sha]l
              be placed on the pan-time seniority listing according to their seniority within the
              classificatIon.                                                              -




           H. The most senior person bidding on a pasted job opening shall be given preference for
               such opening provided such person has comparable employment status, performance
               record, skills, experience, productivity, knowledge and ability to perform the duties
               associated with the posted opening. The successfui bidder shall not be eligible to bid
               another posted job opening for a period of twe:ve (12) months. At the sale discretion of
              the Employer, an employee with less than twelve (12) months in the current position can
              apply for a posted position. An employee who transfers or is promoted will have a
              trobationary period of the first ninety (90) calendar days. At any time during this 90-day
              vrobationary period, the bmployer may return the employee to or the employee may elect
              to return to his or her formerjob classification.

           •     A person transferring out of the bargaining unit shall retain the seniority accrued in
                 bargaining unit classifications for a period of nhiety (90) days folLowing such ransfer.

          J.     Seniority and employment rights shall only lapse for the following reasons:
                       i.   resignation;
                      ii.   discharge for just cause;




                                                                                                              S
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                  Page 36 of 57 PageID #:
                                                36




                       lii.     absence as a result of disability, sickness, or accident, for a period of eighteen
                                (l8~ consecutive months.

              K. .4 separate classification seniority listing shall be maintained for all flulltime and part-time
                 employees. The Union may request a seniority list.

             L. It shall be the responsibjlftv of the employee to keep the Employer and Union infonned
                of his or her correct address and telephone number at all tines.

             M. Any employee who goes on an authorized leave of absence shall maintain his or her
                accumulated seniority but shall nor accrue any flirther ser.!critv until his or her return to
                work.


         ARTICLE S     -      WAGES

            A. The wage scale set forth in “Appendix A” shall be the minimum base hourly rates of pay
               for all employees covered by this Agreement, The minimum hourly wage rates set forth
               in Appendix A and the actual hourly rate of pay of each employee, if higher thai, that
               provided in Schedule A. shall be increased ~n accordance with the following:

                           Effective Date      Tipped Em~lovees { ?~n-Tipped Emplo~es~
                            Mayl.2013                 4%        i          4%
                            MayI.2014                 4%      -j           4%             _____


                            May 1,2015               4.5%                 4,5%
                            May 1,2016       ]       4,5%       I         4,~%           —____




        ARTICLE 9- UNifORMS

        The Employer shall furnish and maintain adequate uniforms for employees required to wear
        uniforms. Bell staff shall be provided with seasonal coats. If uniforms are not maintained by the
        Employer, employees shall be reimbursed in accordance with New York State law. Full time
        employees who are provided wash and wear uniforms wil be provided five (5) ccmpletc sets.
        Part Time employees who are provided wash a wear uniforms will be provided with a number of
        sets equal to the number of days per week they regularly work.


        ARTICLE 10— HOURS OF WORK

           A. Forty (40) hours, exclusive of meal periods, shall constitute a normal week’s work but, ft
              is understood and agreed by the parties that nothing in this Agreement shall be construed
              as a guarantee of minimum or maximum hours of work per day or per week, or of the
              number of days of work per week, or of working schedules for associates. The Employer
              has the right to implement, modi~ and/or eliminate varied work schedules. Varied work
              schedules can include a 10-hour work shift. Employees may request a schedule
              comprised of’ 10-hour shffis. The Employer has the discretion to approve or deny such a


                                                                                                               9
Case 2:17-cv-06001-SJF-AYS           Document 1 Filed 10/13/17                Page 37 of 57 PageID #:
                                              37




                  request based on the needs of the business.

              B. Each employee shall be permitted a ten (10) minute break fronv his or her station for
                 every four ~#J hours worked. The rest period shall be as close to the end of the four (4)
                 hours as practical.

             C. Employees shall receive a minimum of eight (8) hours for non-tipped employees and four
                (4) hours for tipped employees for a scheduled work day on which the employee reports
                for work at the regular scheduled time, unless the Contpan’, has earlier notified the
                employee not to report. Employees who voluntarily leave prior to working the eight (8)
                hours or four (4) hours will only be paid for the time actually worked.

             D. Each employee shall be paid at one and one-half (I ~4) times the regular straight-time
                hourly rate for all hours required to be performed in excess of eight (8~ hours in anyone
                day or forty (40) hours in any one week. Banquet employees, except for banquet
                housepersons, are not eligible for overtime ?fler eight (8) hours in anyone day.
                Employees working scheduled shifts of more than eight (8) hours in one day are not
                eligible for overtime after eight (8) hours hr anyone day. l-!olidays, vacations, sick. jury
                duty, funeral, and other types of paid time off are not considered hours worked when
                calculating overtime pay. There shall be ~o pyramiding of overtime or duplication of
                overtime and/or premium pay.            -




            E. Any employee required to report to work on a day when the ernplâyee is not scheduled to
               work snail receive a minimum or etgnt (8) hours or pay for non-tipped emolovees and
               four (4) hours of pay for tipped employees. ~mplovees who voluntarily lewe prior to
               working the eight (8) hours or four (4) hours will only be paid for the time actually
               worked.                                                                 -




            F. When in uniform and ready to work, the emoloyee must use the time clock before starting
               work and again wheii e~ding work. Employee s must also clock out for meal periods and
               clock back in when returning to work. Each eh~ployee is personally responsible for
               clocking in and out. Each employee is responsible for signing for hours and paychecks.
               Failure to comply may result in disciplinan actions.

            0. Higher Paid Classiflcatior.:lf an employee performs the work of a highercompensated
               classification for less than four (4) hours, he or she shall be compensated at the higher
               rate for each hour or portion thereof performing the work of the higher classification. If
               an employee performs or is assigned to perform the work of a higher compensated
               classification for four (4) hours or more, he or she shall be compensated at the higher rate
               for the entire shift.

        ARTICLE 11— i\~AL.S

        The Employer shall furnish one (I) meal to employees scheduled to work a shift of six (6) or
        more hours.



                                                                                                         10
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17              Page 38 of 57 PageID #:
                                                38




          ARTICLE 12-VACATIONS

                 A. Each regular fuji-time employee who has been employed by the Employer for twelve
                    (12) consecutive months shall be entitled to five (5) days vacation with pay on the
                    anniversary date of employment.

                B. Each regular fill-time employee who has been employed by the Employer for two (2)
                   consecutive years shall be entitled to ten (10) days vacation with pay on the anniversary
                   date of employment.

                C. Each regular fUll-time employee who has been employed by the Employer for se”en (7)
                   Consecutive years shall be entitled to flifeen (iS) days vacation with pay on the
                   anniversary dale of employment.

                D. Each regular full-time emoloyee who has been employed by the Employer for seventeen
                   (17) consecutive years shall be entitled to twenty (20) days vacaticn with pay on the
                   anniversary date of employment.

                E. Each regular full-time employee who has been employed by the Employer for more than
                   twenty (20) consecutive years shall be entitled to twenty five (25) days of vacation with
                   pay per annum following the anniversai~ date of ernployiznent.

            F. The vacation pay for all vacations ir increments of one (1) week or more will be paid in
               advance if the employee so requests a: least. seven (7) working days before a planned
               vacation,

           G. All regular full-lime employees shall be eligible for vacation pay. Vacation pay For both
              tipped and non-tipped employees shall be minimum wage or the employee’s regular rate
              of pay, whichever is greater. Vacation pay shall be’computed based on the average hours
              paid for the previo~is twelve (12) months or period wbrked.

           H. The Company will, consistent with operational requirements, attempt to meet an
              emp!oyee’s choice of vacation time based on seniority.

           1.     Regular part-time employees on June 24, 2010, will be arandfathered to receive pro-rated
                  vacation pay. No other part-time employees are eligible for vacation.


        ARTICLE 13— SICK PAY

          A. Each regular ~il time employee with at least one (1) year, but less than five (5) years of
             service with the Company, shall be granted three (3) paid P10 days per year.

          B. Each regular full time employee with at least five (5) years, but less than ten (10) >ears of
             service within the Company shall be granted five (5) paid PTO days per year.
Case 2:17-cv-06001-SJF-AYS         Document 1 Filed 10/13/17               Page 39 of 57 PageID #:
                                            39




            C. Each regular MI time employee with at east ten (10) or more years of service within the
               Company shall be granted six (6) paid P10 days per year.

            D. PTO days may be used for illness. injury or personal reasons, PTO days may be used for
               personal reasons unrelated to illness or injury, provided such PTO days shall be
               scheduled with prior notice to and with the consent of the Enwioyer. which consent shall
               not be unreasonably withheld or delayed.

            E. Employees, including those hired before June 25, 2010, who receive more paid sick time
               off than provided for herein shall retain the additional paid days and may use them for
               any of’ the reasons set forth in Section 0.

           F. Sick days shall not be accrued from year to year.

           G. Sick pay for both tipped and non-tipoed employees shall be minimum wage or the
              employee’s regular rate of pay, whIchever is greater. Sick pay shall be computed based on
              the average hours paid for the previous twelve (12) months or period worked.

           H. Regular part-time employees on the Company’s payroll o~ April 24, 2004, and eligible
              for sick pay ;vill be grandfathered for the pick pay benefit. Sick pay for both tipped and
              non-tipped employees shall be minimum wage or the ómployee’s regular rate of pay,
              whichever is greater. Sick pay shalt becomputed based on the average hours paid for the
              previous twelve (12) months or period worked.

        ARTICLE 14-NO DISCRTh’flNATIoN

           A. Neither the Employer or the Union will dscrirninate against any employee because of
              race, color, national oriain. age veteran status, known disabiliw, gender, sexual
              orientation. religion or any other characteristic protected by law. Management and
              employees are comrni~ed to treating each other with digni~’ and respect.

          B. The parties recognize that recent immigrant workers are emp!oyed by the Employer and
             they are vital to the success of our operations. Since English is recognized as the
             language in the work place, the Employer and the Union are committed to encouraging
             employees who do not communicate in English as their triman’ language to improve that
             skill.


       ARTICLE 15— ADMINISTRATION

             A. In order to investigate wages, hours, working conditions, and grievances. authorized
                representatives of the Union will be admitted to the Employer’s premises. During
                such visits, the Union will not enter guest rooms. The Union will nor interfere with
                the normal operations of the Employer.




                                                                                                    12
Case 2:17-cv-06001-SJF-AYS          Document 1 Filed 10/13/17                Page 40 of 57 PageID #:
                                             40




                B. The Company will provide the Union with a bulletin board space on which offlelal
                   Union notices may be posted.

                C. The Union shall provide the Employer with written notiñcation~of the names of all
                   designated shop stewards and the Employer shalt recognize such shop stewards.

                D. Stewards shall have top seniority in their job classifications for purposes of layoff.


         ARTICLE 16- HOLIDAYS

            A. Nev~ Yea?s Day, Memorial Day. Labor Day, Thanksgiving Day, Christmas Day.
               Employees Birthday. Martin Luther King Jr.’s birthday, and July 4” shall constitute paid
               holidays. Employees hired on or after July 18, 2007, will not be eligible far the
               Employe&s Birthday holiday.

            B. All regular ibil-time employees shall be eligible for Holiday Pay after they have
               completed 90 days of employment. For employees hired after ratification of this
                                                              .


               Agreement, the eligibility period shall be 120 days of employment. Holiday pay shall be
               computed based on the average hours paid for the previàus twelve (12) months or period
               worked.

               Non-Eligible Employees: All non-tipped employees who are not ~ligible for Holiday Pay
               shall receive double (2) time for all hours actually worked on the hollday. .&li tLpped
               employees who are not eligible for Holiday pay shall receive triple (3) time for all hours
               actually worked on the holiday.

              Eligible Employees: Payment for Holiday Pay for eligible non-tipped employees shall be
              made at the employee’s normal rats of pay. Payment for eligible tipped employees for
              Holiday Pay shall be made at the tipped employee benefit day rate (i.e., the greater of 0)
              two (2) times the employee’s hourly rate; or (ii) the applicable statutory non-tipped
              minimum wage).

        ARTICLE 17- INSURANCE CONTRIBUTIONS

           A. For eve!y ftill-tjme employee with more than six (6) months of service who enrolls in the
              Union’s health and welfare plan, the Company agrees to pay 100% of employee only
              medical and dental coverage. Employee contributions for health and dental coverage
              beyond individual coverage, shall be limited to the following monthly contributions:

                      Medical:
                            Employee + Spouse or Child(ren)         25%
                            Family                                  40%

                     Dental:
                               Employee ± Spouse or Chi!d(ren)      25%


                                                                                                            13
Case 2:17-cv-06001-SJF-AYS         Document 1 Filed 10/13/17              Page 41 of 57 PageID #:
                                            41




                                Family                              40%

          ARTICLE 18- PENSION CONTRIBUTIONS

             A. The Company agrees to contribute to the UNITE HERE National Retiremeni the amoun~
                set forth below for each hour worked for each eiigible employee deflned in Section B
                below. The Company agrees to adopt at 6.4% the UNITE HERE National Retirement
                Fund’s Preferred Schedule signed by the parties on May 19, 2010, Additionally, the
                Company agrees to adopt at 4.5% the PENSION MERGER AGREEMENT signed or.
                Decez~ber 14, 2009.

                                      6/1/2010        $0.56
                                      5/1/2011        50.59
                                      6/1/2011        50.62
                                      5/1/2012    -   $0.65
                                      6/L’2012        $0.69
                                      5/1/2013        $0.72
                                      6/1/2013        50.77
                                      5/1/2014        $0.81
                                      6/1/2014        $0.36
                                      5/1/2015        sac
                                      6/1/2015        50.96
                                      5/1/2016        $1.00
                                      6/1/2016        51.07
                                      5/1/2017        51.11
                                      6/1/2017        51.18

           B. Pension contributions shall be made on behalf of all regi~ar ful-time employees having
              completed four ~4) ñwnths of emDloyment with the Company. No pension conthbutions
              shall be made on behalf of any other employee.

        ART1CLE 19- LEAVE OF ABSENCE

           A. A leave of absence is defined as an absence fbr a definite and specified period of time
              without pay, which is approved by the Company in writing.

           B. All requests for leave of absence must be submitted in writing by the employee to the
              hotel Human Resources Department. Written approval from the Company must be
              received by the employee before the leave begins.

           C. Employees may request an FMLA leave in accordance with the eligibility requirements
              of the Family and Medical Leave Act.

           D. Employees with more than six (6) months of employment may request a personal leave of
              absence not to exceed thirty (30) calendar days. The Company has sole discretion to grant


                                                                                                    14
Case 2:17-cv-06001-SJF-AYS              Document 1 Filed 10/13/17              Page 42 of 57 PageID #:
                                                 42




                      or deny this Leave request. Upon returning to work from a personal leave, the employee
                      will be returned to his or her job classification in accordance with seniorj~’.

                  E. Employees on leave shall not be entitled to earn or accrue any holiday, vacation and sick
                     pay during such leave. Upon returning from a leave of absence, the employee’s length of
                     service shall be contnuou~.

              F. Employees on a granted leave of absence shall noti~’ the hotel Human Resources
                 Department one (I) week prior to the expiration of the leave of their intention to return to
                 work. Failure to work at the end of an approved leave of absence is considered and
                 treated as a vc!untary resignation.

              0. Employees returning from militaiy senice will be reinstated in accordance with the law
                 in effect at the time of their return to work after mi!itarq discharge providing they return
                 during the time limits prescribed by law.

             K. Employees returning to work from a leave of absence due to sickness, accident, or
                pregnancy may be required by the Employer to pass a physical examination before
                returning to work. Such physical examination shall be at the expense of the Employer.

             1.    Any employee who goes into training or accepts employment, other than being directly
                   employed and paid by the Union, during any leave of absence shall be considered to have
                   voluntarily resigned without recourse to the grievance and arbitration provisions of this
                   Agreement. Employees being directly employed and paid by the Union shall not wear the
                   Employer’s uniforms and the Union shall not assign them to work on or at th&Emplover’s
                   premises.


        ARTiCLE 20- FUNERu. LEA~I

         Upon th~ death ofan employee’s immediate family, the employee shall be entitled to up to five
         (5) days off with pay to attend the funeral. Such pay shall be made only for scheduled workdays
        and shall be on the basis of eight (8) hours per day or the number of hours the empbyee is
        regularly scheduled to work at straight time. Funeral pay shall not be paid for any day in which
        the employee is paid by the Company in any other manner. The employee shall be required to
        provide proof, satisfactory to the Company, of the relationship, death, and attendance at the
        funeral. Immediate family is defined as the employee’s spouse; domestic partner; biological,
        step or adoptive chIldren, biological, step, or adoptive parent, brother. sister, or grandparent.


        ARTICLE 21-. MISCELLANEoUS PROVISIONS & PREMiUMS

           A, Room Service When no cashier is assigned, room service person to be compensated at
                                  -

              51.04 per hour in addition to his or her normal hourly rate of pay.

           B. Written warnings shall be removed from the employee’s file after a period of one (I) year
              provided no additional warnings are issued during the one year.


                                                                                                         15
Case 2:17-cv-06001-SJF-AYS               Document 1 Filed 10/13/17                Page 43 of 57 PageID #:
                                                  43




                  C. Employees who are provided with a two-way radio shall be responsible to maintain the
                     radio in good working order and to return the radio at the end of each shift.

                  D. The Employer shall provide notice of schedule no less than five (5) calendar days prior to
                     the commencement of the workweek, and may not be changed unless such change is
                     agreeable to employee in its sole discretion. The employer shall not make changes in the
                     schedules that are abusive to the rights of employees or are designed to deprive
                     employees of the benefit of’ this .Agreernent.

                E. Maintenance to receive 526.00 per power hook-up, if the Contpany collects it.

              F. Any housekeeping employee who cleans over fifteen (15) rooms in an eight (8) hour shift
                 shall receive four dollars ($4.00) for each additional room cleaned within this eight (8)
                 hour shift ~xtra room pay shah be increased twenty-flve cents ($0.2)) each May 1, as
                 follows:

                                           5/1/2014       $4.25
                                           5/1/2015       $4.50.
                                           5/1/2016       $4.75

           0. Room quotas shall be reduced by one (13 when eleven (1!) checkouts are assigned,and
              shall be reduced by one (I) additional room for each checkout assi~ned beyond eleven
              (13).

           N. Room quotas shall be reduced by one (I) for every floor beyond two (2) ficors traveled.

           1.       On all tours the Employer will endeavor to obtain two dollars and eight cents ($2.08) per
                    bag in and out and when obtained it will be paid to ihb bell persons.

           1. A banquet fee of thirty-five dollars ($35.00) that is collected will be distributed to the
              carver, sauté, omelet or pasta station employee.

          K. For banquet events, which do not generate at least three hundred dollars ($300.00) in
             beverage revenue, a bartender fee of seventy-eight dollars ($78.00) shall be charged to
             the customer and paid to the bartender who works such event.

          L   .    A night difference of flfteen cents ($0.15) per hour shall be paid for all hours worked on a
                   shift. which commences at Ii :00 p.m., or after, and before 5:00 a.m.

          M. For banquet functions scheduled and worked in the restaurant, staffing shall be by
             restaurant and banquet staff; if both are available.

          N. Restaurant food servers will receive an additional one dollar and four cents ($1.04) per
             hour for those hours actually worked when they are scheduled to work without a bus
             person.



                                                                                                            16
Case 2:17-cv-06001-SJF-AYS               Document 1 Filed 10/13/17                 Page 44 of 57 PageID #:
                                                  44




             0. Banquet Servers/Bar Staff will be paid gratuities on the retail price of A & P meals
                sponsored by the hotel.

         ARTICLE 22- ENGINEERiNG DEPARTMENT

             A. All maintenance mechanics will receive pay of $1.00 below contract rate until the
                qualification card is completed. The duties of each classiflcation include, but are not
                limited to, responding promptly to quest. mar.agement and employee requests,
                maintaining log books, makina re pairs to ~uest rooms, maintaining building support
                systems. completing tour sheets suoporting projects and functions in connection with
                                                        ,

                hotel operations and all required preventative maintenance/repafr documentation.

                       i.    Class C Mechanic: Class C Mechanics are primarily responsible for work in
                            guest rooms, public, and non-public areas such as grounds keeping, snow removal,
                             painting, wallpaper repaiI~ sheet rock repair, tile repair, light bulb changing filter
                                                                                                            ,


                            cleaning, and activating voice/data /electricai connections, in addition, performs
                            general labor type work such as lubrication of equipment and assisting employees
                            in other classifications.

                 ii.        Class B Mechanic: Demonstratd ability in all of the Class C skills, plus single-
                            phase electrical work, plumbing repair, HVAC coil cleaning, filter changing. and
                            basic HVAC preventative maintenance. Possess mechanical ability to service and
                            repair hard key and electronic locks, replace lighting ballast, md able to
                            understand and operate an electrical meter.

                iii.        Class A Mechanic: Demonstrated ability in all of the Class Band C skills plus
                            capable of troubleshooting and repairing electrical and mechanical equipment.
                            Familiar with the operation and repair of pneumatic controls, steam boiler
                            operation and chillers. Five (5) plus years and/or significant proven maintenance
                            experience.

           B. it is agreed and understood that empioyees in a nigher clnssiyicanon can and wiil be
              assigned to work in a lower classification. It is also agreed and understcod employees in a
              lower classification can arid will be assigned work of a higher classification as pan of
              training for progression.


        ARTICLE 23-POLITICAL ACTION CO1~’&IITTEE DEDUCTIONS (PAfl

       The Company shall deduct and transmit to the controller of the New York Hotel and Motel
       Trades Council, AFL-CIO the amount of contribution specified for each week worked from the
       ~‘ages of those employees who voluntarily authorize such contributions at least 14 days prior to
       the next scheduled pay period, on the forms provided for that purpose by the New York Hotel
       and Motel Trades Council, AFL-CIO. These transmittals shall occur no later than the thirtieth
       (30th) day of the following month, cannot be combined with any dues deductions and shall be


                                                                                                                17
Case 2:17-cv-06001-SJF-AYS           Document 1 Filed 10/13/17                Page 45 of 57 PageID #:
                                              45




          accompanied by a list of the names of those employees for whom deductions have been made
          and the amount deducted for each employee.


          ARTICLE 24-SUCCESSOR CLAUSE

                 A. This Agreement shall be binding upon the successors and assigns of the parties hereto
                     with respect to any ownership, management, or operational control of the hotel, and
                    no provisions, teims, or obligations herein contained shall be affected, modifled,
                    altered, or changed in any respect whatsoever by the consolidation, merger, sale.
                    transfer, or assignment of either ~arty hereto or affected, modified, altered or changed
                    in any respect whatsoever by any change of any kind in the legal status, ownership.
                    operation. or management of either party hereto. Any successor owner, operator and
                    manager shall assume all of the obligations under this Agreement ofthe prior owner,
                    operator and manager of the hotel or concession to the employees, -the Union or any
                    of the employee beneflt funds to which Employers are required to contribute
                   hereunder.                        -




                 B. Each owner, operator and manager, as applicable, shall oiake it a written material
                    condition of any transaction of any kin4: whatsoever which transfers majority
                    ownership, management, or operational control of ch~ Hotel or Concessionaire such
                    that any party (“transferee”) assuming such majority ownership, managemento~
                    operational control of the hotel must assume and be bound in writing to this
                    Agreement.

                C. A successor, assign or transferee shall assume all obiigations of the predecessor,
                   assignor oi transferor, including those agreements and practices su~p!ementing this
                   Agreement. Every successor, assign and transferee shall execute an assumption
                   agreement substantially similar to the following; ‘vith respect to the hotel, not less
                   than ten (10) da~is prior to any &ansfer or change covered by this Article to be
                   effective on the closing of such transaction:

                A~reemenr made as of this            —    day of        —     20_, by and between
        [OWNER1PURCFLkSER NAME] and [MANAGERjQpER8J~p,, NAME. IF DIFFERENT] its
        managing agent, on their own behalf and on behalf of any affiliated or related entity and any
        current or future owner, manager or operator of the Hilton Albany Hotel f/Wa the Albany Hotel,
        and their respective successors or assigns (collectively. “Successor”). and the New York Hotel
        and Mote! Trades Council, AFL-CIO (“Union”).

        Whereas, Successor has agreed to {PURCI-LASEIIVIANAOE/OPER,,,kTEi the Hilton Albany f/Ida
        the Albany Hotel (“Hotel”) from the current [OWNER1MANAOEFJOpER,~ToR
        (“Predecessor”);

        Whereas, the Predecessor is bound to a collective bargaining agreement with respect to the Hotel
        (“CBA”)~




                                                                                                            18
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                   Page 46 of 57 PageID #:
                                                46




          Whereas, Article 24 of the CBA requires any entity, which acquires a management, operation or
          ownership interest at the Hotel be bcund to the CR4 with respect to such management. operation
          or ownership interest at the Note!;

         Whereas, the Successor agrees that it is a successor to the obligations under the CBA;

         Now, therefore it is agreed:

         I.          Successor agrees that, with respect to the Hotel, it shall retain all current bargaining
         unit employees. whose employment will continue unmtetTupted and without loss of seniority,
         compensation, cenerits or fringe benefits, no adverse effect on ocher terms and conditions of
         employment, subject to the CEA and applicable law.

         2.        Successor agrees that, effective as of the date of the closing, Ii has assumed, adopted
         and is bound by all of the terms, both economic and non-economic, of the CBA.

        3.        Effective immediately any and all disputes between the parties or regarding the
        interpretation or ap~1ication of this Agreement shall be subject to the grievance and arbitration
        provisions of the CBA, the entirety of which is incorporated herein by reference.

        FOR TEE UNION                                         FOR Tfl E SUCCESSOR (on behalf attach owner,
                                                              operotor and manager)
        By;                                                   By:_____________________________
        Name:                                                 Name:
        Tide:                                                 Title:
        Authorized to Sign                                    Authorized to Sign
        Dated:                                                Dated:

                  D. Not less than fifteen (IS) business days prior to the closing of the transaction, the
                     Emtloyer shall give the Union notice in writing of the transaction and the notice to
                     the Union will provide the fi~1! and complete identiw of the transferee, together with a
                     duly executed copy of the pertinent portion of the transaction agreement pursuant to
                     which the transferee agrees to assume this Agreement. The Union represents and
                     ~varraats that until the transaction closes. it shall not contact such Successor.

                  S. Said notice will be held by the Union in strict confidence and the Union, upon request
                     of the Employer, will agree to a confidentiality pledge upon terms mutually
                     acceptable to the Employer and the Union, provided, however, that such
                     confidentiality pledge will be ineffective upon the Employer’s violation of this
                     Article.


        ARTICLE 25- HEALTH AND SAFETY

              A. General. The Employer and Union agree that the safety and health of employees is of
                 paramount concern. Accordingly1 the Employer agrees to provide a safe and healthy
                 work environment. The Employer farther agrees to provide such training and equipment,


                                                                                                                19
Case 2:17-cv-06001-SJF-AYS            Document 1 Filed 10/13/17               Page 47 of 57 PageID #:
                                               47




                 adopt procedures and safeguards, and make repairs or modifications to its facility as
                 required by law or t’&s Article in order to provide a safe and healthy work environment.

             B. Right to Refuse Unsafe Assignment. An employee may rethse a wàrk assignment if’ sine
                has a reasonable good faith belief that such assignment subjects him/her to unusually
                dangerous conditions which are not normally part of the job. Prior to exercising hisiher
                rights under this Article, the employee shall promptly notify management of the
                perceived unsafe condition. The Employer may not discriminate or retaliate against an
                employee for exercising his/her right hereunder.

         ARTICLE. 26- SUPPLIES

         The Employer shall provide employees with supplies and equipment needed for the timely, safe,
         efficient and effective performance of their duties, No employee may be disciplined or
         discharged as a result of the Employer’s failure to fulfill this obligation.


        ARTICLE 27- NO UNLAWFUL ASSIGNMENTS

        The Hotel may not request that bargaining unit employees perfonn or fail to perform any task or
        duty that would constitute a violation of any apólicable law, statute or regulation.


        ARTICLE 28     -   LEAVE EARLY

        At any time within two (2) hours of the end of his/her shin, a Room Attendant may leave work
        early upon the completion of his/her quota, provided they first correct any deficiencies identified
        by inspectors, and receive full pay. Room Attendants sha!lsiotify housekeeping management
        prior to Leaving. If a RoomAttendant cannot complete his/her quota because ofDNDs in
        his/her section, s/he may clean other rooms then available to be cleaned, as assigned by the
        Supervisor. Room Attendants shall promptly noti~ the Hotel of DND’s in his/her section.


       ARTICLE 29- ROOM iNSPECTORS

           A. Reduced Duties

                 I.   The current practice of Room Inspectors completing a checklist shall be
                      eliminated. Inspectors shall be responsible only for making a record of
                      conspicuous defects that require repair by maintenance (e.g., broken mirrors,
                      permanent stain. etc.) found in guest rooms during regular inspection.

                ii.   The current practice of Room Inspectors performing “due outs” shall be
                      eliminated. However. Room Inspectors will continue to handle “due outs” when
                      it is reported to them that a “due out” guest has not left their room after noon.




                                                                                                        20
Case 2:17-cv-06001-SJF-AYS                Document 1 Filed 10/13/17                 Page 48 of 57 PageID #:
                                                   48




                     iii.      The current practice of Room Inspectors handing out or collecting master keys
                               shall be e!iminated. Managers may collect and hand out such master keys.

                     iv.      The current practice of Room Inspectors performing duties relating to lost guest
                              items shall be eliminated.

                     v~       The Hotel shall provfde radios allowing all Housepersons and Room Inspectors to
                              communicate.

                    vLAII other Room Inspector Duties, including assigning of Room Attendant boards.
                       shall remain unchanged.

            B. Additional Staff

                     i,       Additional Full Time Room In&pector. The Hotel agrees to hire one (I) full time
                              Room inspector. This position shall first be offered to the current part time Room
                              Inspector, Keisha Dennis.

                    ii.      Continue Part Time Room inspector Practice. The Hotel shall also continue to
                             have a part time room inspector in a.ccordance with existing practice. Should
                             Keisha Dennis accept the tUB time position, the Room Inspector’s position shall
                             be offered to existing Bargaining Unit employees, in accordance with seniority.

               iii.          There shall be no reduction in ~he total number of Room Inspectors enwloyed at
                             the Hotel (i.e., three (3) full time and erie (1) part time) nor may Room’ Tnspectors
                             be placed on layoff or reduced work week.

           C. Quota

             Upon compliance with the reduction in duties and additional staff provisions stated above,
             the room quota for fill time Room Inspectors employed as of the effective date of this
             Agreement shall be forty-five (45) standard rooms (i.e., non-VIP rooms) per shin. The
             rdorn quota for full time Room Inspectors hired after the effective date of this Agreement
             shall be sixty (60) standard rooms (i.e.. non-VIP rooms) per shift. The quota for part time
             room inspectors shall be the same as the Room Inspectors for whom they are substhuurig,
             It is agreed that Room Inspectors shall also inspect public areas of the Hotel, in
             accordance with current practice. The parties shall establish a program for checking
             clean and vacant rooms, which shall count towards the room quota.

          D. Scheduling

               i.           The work schedules, for current Room Inspectors shall not be changed, although
                            preferred schedules or additional days off shall be offered to them by seniority.

              ii.           Room Inspectors shall continue to be offered guaranteed overtime in the same
                            manner and amount as heretofore.



                                                                                                               21
Case 2:17-cv-06001-SJF-AYS            Document 1 Filed 10/13/17                  Page 49 of 57 PageID #:
                                               49




          ARTICLE 30- BANQUET STAFFING

          Banquet staffing shall be as set forth below. An additional server will be added only when the
          staffing ratio is exceeded by 50% (e.g., if the ratio is I to 20, the Hotel shall not add an additional
          server at 25 guests, but will add an additional server at 31 guests).

                 Type of Event                              Staffing Ratio (sen’er to guest~
                 Breakfast Buffet                                   Ito 40
                 Breakfast Si: Dow::                                ito 25
                 Lunch Buffet                                       1 :o35
                 Lunch 5k Down                                        ro25
                 Dinner Buffet                                        to 35
                 Dinner Sit Down                                    I to 25
                 Continental Coffee Break                          I to ISO
                 Reception                                         i to 75
                 Reception with Butler Passed Hors d’ourves        I to 50
                 Box Lunch                                         I to 75

         ARTICLE 31- BARGAIMNG UNIT WORK

         Work that is the normal assignment of bargairifn~ unit members shall be performed by bargaining
         unit members only, except managers nay perform bargaining ur,it work in accordance with past
         practice provjded ~ no bar~ain’rg ur~ en~nlo~ Ce s on iatcff recucec ½ork~ eek, or otheL-v se
         adversely affected. unless tne work was orrered to such employees in accordance with thts
         Agreement, and by reasonable means of communication, and (ii) such work is not sufficient to
        justi~’ the addition of another full or regular part fine bargaining unit member.

        ARTICLE 32      -   SUBCONTR4C’rIyG

        The Employer shall not subcontract bargaining unit work except in the same manner or amount
        as heretofore, without prior agreement of the Union. Under no circumstances may the Employer
        subcontract bargaining unit work if any employee in the affected classification is on layoff or
        reduced workweek. Nor may work be subcontracted unless ft is ~rst offered to bargaining unit
        employees, as overtime ifnecessan. Furthennore. the Employer may not subcontract ins
        manner or amount that erodes the baraaining unit or avoids hiring additional fuli or regular part
        time bargaining unit employees.


        ARTICLE 33- TIPPED EMPLOYEE BENEFIT DAY RATE

        For all benefit days (e.g., vaca~on, holiday, PTO, and bereavement), tipped employees shall be
        paid at a rate no less than the greater of:

               A. Two (2) times the employee’s howly rate; or
               B. The applicable statutory non-tipped minimum wage.


                                                                                                             22
Case 2:17-cv-06001-SJF-AYS                       Document 1 Filed 10/13/17                        Page 50 of 57 PageID #:
                                                          50




             ARTICLE 34— ~IALNTE~4~cCE OF WAGES AND BENEFITS

             N~ tmp~o~ee shaU stiffer a loss or reda:;~c’~ O~OLZ$. WUr.3 or weeki; vca~e~. benefits or frLa~e
             benefits rr ar:. ad~erse effect on ac;~ other terns or eor~ditbns of empbvnent 3n accounc of the
             CXCCuZIOn. ass;znmer.L edop~ctt or ass~nipticn of this A2ree~nen:.



             ARTICLE 35— SEVERANcE PAY

                                                  re c’p2~. :: ea:.:              err.: :0.e,\v:: r.:Jesstrar zre.
                                                        -.   :e~t-~::2.:’.:r —e~t~’±-. ~n. : cht S:iir.i.’    :~e
                                                                          2- :ec;rL::~j::a ::...tzt    5.    _::::ersion
                    6
                    —
                              -       f   ~      -r

                3 ~                                                  -i   ~ rn;t.e~u:.zj!.,5:2~:t.)f
                    regurar”.a~!s--Dr. irthecase rr::pvecettt~Fy-ees te~ ~
                           ‘~ ~ra~:
                                  I     aescark—~r-z— ~e-ea~.’—a—, ~
                    sum qua :c three .nr’-irb~ c.~rr~:;JIr2 ,ea;± Seneiits Lnder CQBR-\ Uriess
                    o~hez-\vse p~DVei. a1 et2!o\ e~s laid DrY ~‘ithir. six    months ‘?f a pertar~en: closing.
                   ::-~versi     r other :ri~j~em sh&I be presutted to ha; e b~er. :~mina~eQ as a result
                   the C!OSiflQ. Don’.ers:on or otner tmi~er and shal he thee:~’re eh~bie frrseverar2e
                   na-.   -




               Ch~:-ectE)r -~.1± :h~ fome~z±iz. t.’e E;t:i:’;er sh~J. issue. a:m.i senc ~c the
                   fo-d~n~,Lxk1r
                                              the f::e~z~r-., ~:--tt.J-: He E-~2:r.-r Lees t: mra.:e al
                   sta:utcr. :a~ v-.ftSh~: dbz3 ~rh~r ~z trassrr:ni-i yf&e :-~e:ks rr the L
                   ?r.me,zsSjj. bec:rivyj:eS


        ARTICLE 36— TERM OF AGREEMENT

        This .~.gree~ten:                         eie:u.a                      -~:-   ::.~r. 2~. a-::
             ce~e:~th-Duit                i::-    ~r. A::




             ‘)PX !-iDTEL 7’D ‘~(DTEL                                                      *L3-’L’.Y HOTEL NJ
        TRADES co~\c:L. -FL-c:o                                                            .~AD -kL3..~AY HC!~EL ThS.


         -     ~                                                                                         (-.




       President                                                                          Tftie.        Pmsid~~~t
       Autn-orize~S to 5~~r                                                               Authc’ize~ to Sign


                                                                                                                           1:
Case 2:17-cv-06001-SJF-AYS   Document 1 Filed 10/13/17    Page 51 of 57 PageID #:
                                      51




                                                                       act

                                                 Az~thorzed to




                                                                             24
Case 2:17-cv-06001-SJF-AYS             Document 1 Filed 10/13/17                  Page 52 of 57 PageID #:
                                                52




                                                 APPENDIX A WAGES-




                          Job Classification                   5/1/13         5/1/14        5/1/15       5/1)16
               Housekeeping Lead Person                        313.54        $14.03        $14.72       $15.38
              Housekeeping Inspector                           312.85        $13.36        $13.96       $14.59
              Room Attendant- Laundry                          $12.58        $13.08        $13.67       31429
              CommerciaL Cleaner                               $12.53        S13.0$        $13.67       $1429
              HousePerson                                     $12.57         $13.07        $33.66      $14.27
              DoorPerson                                      $12.72         £13.23        $13.32      $14.45
              GuestServiceAgent                               $32.57         $33.07        £~345       334.27
              Night Auditor                                   S!2,57         $13.07       $13.66       334.27
              Bell Captam (31.00 above Bell Person)           512.05         512.33       313.09       313.68
              BeliPerson                                      510.90        331.34        513.85       312.33
              Concierge                                       $13.62        $14.16        $34.30       $15.47
              HosWHostess                              .      5)2.85        S13.36        $33.96       $14.59
             Barista                                          $32.25        533.36        $13.95       5L4.59
             Room. Servicecashier                             $12.85        $13.36        $13.96       $14.59
             Bus Person                                       313.40        $l1.3~        $32.39       $12.95
             Food Server (tip position)                                       $5.94         $6.21       36.49
             Room Service Attendant (tip position)             $5.71          $5•94         $6.21       $6.49
             LeadCook                                        $15.64         $16.27        337.00      $17.76
             Fi;stcock                                       $13.96         534.52       $15.15       3:5.36
             Second Cook                                     $13.62         314.16       334.30       55A7
             Prep Cook                                       512.57        $13.07        $13.66       S4.27
            KitchenUtjlft-v                                  £11.75        512.23        512.75       $13.35
            Maintenance-C~sA                                 $18.40        319.13        519.99       $~O.39
            Ma~ntenance Class B
                          -                                  $15.62        336.24        $16.97       $17.74
            Maintenance Class C
                          -                                  313.20        313.72        314.34       314.99
            Barback                                          $13.35        $12.0!        312.55       313.32
            Bartender (tip position)                          38.16          58.48.        38.86        39.26
            Cockt~iI Server (tip position)                    $5.71          $3.94         $6.21       $5.49
            Banquet House Person                             $12.57        $13.07        313.66       $14.27
            Banquet Bartender (ho position)                   37.65          37.95         38.31       38.68
            Banquet Captain (tip position)                    s5~37          57.14         37.46       37.80
            Banquet Servers (tip position)                    $5.40          33.61        35.87        $6.13

        During their first six (6) months of employment, employees hired after the ratification of this Agrcement
        will receive one dollar CS! .00) less than the rates reflected in Appendix A or minimum wage.

       Banquet captains. serveis and bartenders will receive equal distribution among such employees serving
       any given banquet, a total of 15.00% of the service charge for such banquet Banquet house person wilL
       receive 0.5% of the total service charge.

       Nothing in this Agreement shall limit the right of the Employer to pay wages in excess of those contained
       in this Appendix.




                                                                                                              25
Case 2:17-cv-06001-SJF-AYS          Document 1 Filed 10/13/17              Page 53 of 57 PageID #:
                                             53




                                      LETTER OF UNDERSTANDING
                                              BETWEEN
                                         ALBANY HOTEL, INC.
                                                 AND
                                   ROCHESTER REGIONAL JOINT BOARD
        The parties agree that only the following five (5) fiill-tin,e banquet captains and banquet servers
        shall continue to be eligible for the insurance, as provided in Article I B, as long as they remain
        available for fiW-time hours during the term of this Agreement. All other banquet captains and
        banquet servers, other than those identified below in this Letter of Understanding, will only be
        eligible for insurance consistent with the terms provided for in Article 18.
                                       Everol Gordon
                                       Rotibi Rynoe
                                       Patrick James
                                       Denise Lucaroni
                                       Mark Sumida


       ALBANY HOTEL, INC.

       By:                                              —    Date:




       New York Hotel and Motel Trades Council, AFL-CIO

       By:                                                   Date:




                                                                                                       26
     Case 2:17-cv-06001-SJF-AYS           Document 1 Filed 10/13/17         Page 54 of 57 PageID #:
                                                   54




911412017
HTC #U 17-483
Office of the impartial Chairperson
321 West 44th Street
SuIte. 400
New York, New York 10036
Dear Sir:
We herewith file a demand for arbitration against:
      Hilton Albany (formerly Hotel Albany)
      Robert Milman
      Attorney
      40 Lodge Street
      Albany, NY 12207
RE: HTC #U17-483/Hearlng requested by the New York Hotel & Motel Trades Council, AFL-CIO, re:
Management’s failure to pay Banquet Service gratuity on room rentals, AN, arid similar charges
through April 30, 2017, in violation of the collective bargaining agreement and the law.
We will appreciate a conference with management on this matter at your earliest convenience.
                and Motel Trades Council, AFL-CIO

Peter Ward
President
PW/DB
Local 6
Nancy Hull
cc: Robert Milman, Hilton Albany (formerly Hotel Albany)
Statutory notice attached.
~                                                                                            ‘~.—~r—         ,~rn       r~ri
        Case 2:17-cv-06001-SJF-AYS                 Document 1 Filed 10/13/17                 Page 55 of 57 PageID #:
                                                            55



    John Harras

    Frqm~                              efile@nycourt&gov
    Sent:                              Friday, October 6; 2017 912 AM
    To:                                John Harras
    Subject                            NYSCEF Alert Nassau Special Proceedings CPLR Article 75 <ASSIGNMENT OF
                                                             -                     -                 -


                                       INDEX NUMBER> 610548/2017 (AFP Management Corp v New York Hotel & Motel
                                                                                                 -   -


                                       Trades Council,.AFL-ClO)




    Nassau County Supreme Court
    ASSIGNMENT OF INDEX NUMBER
    On 10/04/2.017, at 3:26:48PM, the case commenced by the follqwlng electronic filing:

    Document number: 1
    Document type,: PETITION
    Captioni AFP Management Corp. v. New York Hotel & Motel Trades Council, AFL,ClO
                                       -   -




    ‘was assigned the following index number:

    Index Number: 610548/2017
    Date of Filing’: 10/04/2017


    Filing User Information
    User Name: JOHN HARRAS
    Phone Number:
    Fax Number:.
    Email Service Address: john@mllaborIaw.com
    Work Address:


    Payment Information
    Amount of payment: $210
    Date of payment: 10/04/2017
    Payment method: AMERICAN EXPRESS
    Authorization code: 201025
    Payment Comments:

    E-mail Service Notifications Sent
    Nam~ ,—~——~‘—
     ~—‘~                             ~
                                        ~Email Address .~— — —        -.•—_

    ~OHNHARRAS                          Jwhn@mflabodaw corn                   ___


    Note: Service of initiating documents and the ‘Notice of Availability Regarding Electronic Filing” (in consensual cases) or
    the “Notice of Commencement of Mandatory E-Filed Case” (in mandatory cases) must be made in hard copy (unless the
    party agrees to accept service by electronic means). These forms can be found on the NYSCEF site under the “Forms”
    menu. The served copies also must bear the assigned Index Number and the date of filing (CPLR 305).
                                                                  a
    Case 2:17-cv-06001-SJF-AYS               Document 1 Filed 10/13/17    Page 56 of 57 PageID #:
                                                      56



Documents Filed
(To view e document, click the document type link)
    0                                4dd~por~aFqbcinto       $pe ~

2         EXHIBIT(S)                 CBA                                              ~o/Q42,
              —
&         EXH1BIT(5)                Arbitration Nofice                                ~b ~Ø1?~2~7~.
THIS E-MAIL IS INTENDED ONLY FOR THE USE OF THE NAMED ADDRESSEE(S) AND FOR THE PURPOSES OF THE NEW YORK
STATE COURTS ELECTRONIC FILING SYSTEM IF YOU ARE NEITHER THE INTENDED RECIPIENT NOR A PERSON DESIGNATED
TO RECEIVE MESSAGES ON BEHALF OF THE INTENDED RECIPIENT, PLEASE NOTIFY THE SENDER IMMEDIATELY THANK
YOU.




                                                         2
     Case 2:17-cv-06001-SJF-AYS Document 1 Filed 10/13/17 Page 57 of 57 PageID #:
                                         57
                       OFFICE OF THE IMPARTIAL CHAIRPERSON
                                       321 WEST 44TH STREET, SUITE 400
                                            NEW YORK ,NY 10036
                 TEL: (212) 541-7212 EMAIL: OFFICE@IMPARTIALCHMRPERSON.ORG

HOTEL ASSOCIATION OF NEW YORK CITY, NC.                            NEW YORK HOTEL & MOTEL TRADES COUNCIL



                                                                  9/29/2017

    Jonathan Sajan                                                Mr. Peter Ward
    Director of Human Resources                                   New York Hotel & Motel Trades Council
    Hilton Albany (fka Hotel Albany fka Crowne Plaza
                                   -                              707 Eighth Avenue
    Albany)                                                       New York, NY 10036
    40 Lodge Street
    Albany, NY 12207
                                  Sent Via FacsimIle Or E-Mail to All Parties
          A hearing will be held at this office (321 West 44th Street, Suite 400 New York City) on Monday,
     November 6,2017 at 9:30 AM in the mafter of the request of the Hotel Trades Council concerning:
        #U17-483/Hearing requested by the New York Hotel & Motel Trades Council, AFL-CIO RE:
        Management’s failure to pay Banquet Service gratuity on room rentals, AN, and similar
        charges through April 30, 2017, in violation of the collective bargaining agreement and the
        law.



             In order that your interests may be protected, it is essential that you be present or
      represented at that time.
       cc:     David Rothfeld, Esq.
               Vincent Pitta, Esq.
               Niki Franzitta, Esq., VP HANYC
               Barry Saltzman, Esq.
               Jane Lauer Barker, Esq.
               Joseph Farelli, Esq.
               Alexander Soric, Esq.
               Michael Lydakis, Esq.
               Deshawn Belton
               Susan Gempler
               Nancy Hull
               John Harras, Esq. Milman Labuda
